Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 1 of 67 PageID #:240




                       EXHIBIT 13
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 2 of 67 PageID #:241




                                                 2020
                                                Annual
                                                Report
                                                           Darren Reisberg
                                                                      Chair
                                                        Dr. Carmen I. Ayala
                                          State Superintendent of Education




                                                        Exhibit 13: Page 1 of 66
        Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 3 of 67 PageID #:242



                 STATE BOARD
                          OF EDUCATION



Dr. Carmen I. Ayala           Darren Reisberg                Dr. Donna                   Dr. Cristina
State Superintendent                Chair                  Simpson Leak                 Pacione-Zayas
    of Education                   Chicago                   Vice-Chair                     Secretary
                                                             Flossmoor                       Chicago
                                                                                     (Feb. 2019 - Dec. 2020)
The State Board of
Education consists of
nine members who are
appointed by the
Governor with the
consent of the Senate.

Board members serve
four-year terms,
with membership
limited to two               Susan Morrison                Jane Quinlan            Dr. Christine Benson
consecutive terms.          Chair of the Education     Chair of the Finance and            Ottawa
                          Policy Planning Committee       Audit Committee
The Board appoints the             Carlinville                Champaign
State Superintendent of
Education, who may be
recommended by the
Governor.




                               Cynthia Latimer             Dr. David Lett           Jacqueline Robbins
                                     Aurora                   Springfield                 Batavia
                             (Feb. 2019 - Jun. 2020)



                                                                            Exhibit 13: Page 2 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 4 of 67 PageID #:243




                         2020
                       ANNUAL REPORT




                         ISBE's Internal Communications Department
                                          January 2021




                                                                     Exhibit 13: Page 3 of 66
        Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 5 of 67 PageID #:244




January 2021


To all residents of Illinois:
This past year has been unlike any in recent history. It has been marked by a global public health crisis,
massive public demonstrations, and a presidential election that drew the largest turnout in a century.
Whether receiving their education inside a school building or remotely, our students have certainly spent
the year learning lessons about science, civics, and resilience.
In March, the global COVID-19 pandemic forced Illinois to shift suddenly to remote learning for all
students. This adjustment exposed the digital divide as a stark reality. While school districts could return
to in-person learning when the new school year began in the fall (following strict health and safety
requirements), ISBE worked to ensure that all schools had the technology to continue to provide a
remote learning option. Bolstered by more than $600 million in federal funds, we made significant
investments in expanding access to computers, tablets, and internet connection devices, progressing in
our goal of equipping all students with the tools needed to engage meaningfully in synchronous learning
from home.
Hardware was only one of the challenges confronting Illinois educators. The pandemic affected almost
every aspect of education — from supplying personal protective equipment for staff, to ensuring access
to meals for students, to counting attendance, to bolstering mental health supports, to deciding what
learning standards to prioritize. ISBE worked closely with the Illinois Department of Public Health to
lead schools safely through each phase of mitigation and recovery and engaged diverse advisory groups
made up of seasoned educators to help schools navigate this uncharted terrain.
One bright spot in the year occurred in May, when our state plan for career and technical education
(CTE) received federal approval. Illinois was one of the first six states in the nation to get the green light
from the U.S. Department of Education. This plan, which focuses on equity and inclusion, raises the bar
for CTE in Illinois and sets up students for success in the post-pandemic economy. It even includes a
New Education Career Pathway to jumpstart secondary students into careers in teaching. Governor JB
Pritzker's fiscal year 2020 budget included the first increase in state funding for CTE in five years, and
his FY 2021 budget maintained this higher level of funding to fuel advances in college and career
readiness.
Responding to the COVID-19 pandemic has been an exercise in equity and how to truly make decisions
in the best interests of students. Informed by this experience, we finalized the agency's new strategic
plan. The plan provides a roadmap for Illinois public schools through 2023 and defines the steps the
agency will take to offer all Illinois students safe and engaging schools, excellent teachers, and equitable
learning opportunities. The priorities outlined in the plan are framed around three overarching goals, all
underpinned by equity:
    •   Student Learning: Every child will make significant academic gains each year, increasing their
        knowledge, skills, and opportunities so they graduate equipped to pursue a successful future,
                                                                            Exhibit 13: Page 4 of 66
        with the state paying special attention to addressing historic inequities.
     Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 6 of 67 PageID #:245
   • Learning Conditions: All schools will receive the resources necessary to create safe, healthy,
     and welcoming learning environments, and will be equipped to meet the unique academic and
     social and emotional needs of each and every child.
   • Elevating Educators: Illinois’ diverse student population will have educators who are prepared
     through multiple pathways and are supported in and recognized for their efforts to provide all
     students with the education that meets their needs.
The strategic plan also incorporates a stand-alone Diversity, Equity, and Inclusion Plan designed to help
us live up to the promise made in our equity statement -- to ensure that “all policies, programs, and
practices affirm the strengths that each and every child brings within their diverse backgrounds and life
experiences and by delivering the comprehensive supports, programs, and educational opportunities they
need to succeed.”
The Diversity, Equity, and Inclusion Plan introduces new tools to guide our internal decision-making
and improve our external supports for schools. The six goals in the plan are:
   1. We will create an equity impact analysis tool by June 30, 2021, that will be used to guide all
      agency decisions.
   2. We will use a data-based Equity Journey Continuum to publicly indicate on each district’s 2022
      Report Card where they are on their equity journey.
   3. Our agency will put a specific diverse staff recruitment plan in place so that our staff will reflect
      the demographics of Illinois’ student population.
   4. We will expand assessment literacy through the implementation of training modules focused on
      addressing achievement gaps.
   5. We will develop and implement Resource Allocation Reviews to assist school districts in
      evaluating resource allocations to decrease achievement gaps.
This year has been one for the history books — literally. As we write this letter, we are still in the midst
of the pandemic, keeping the health and safety of our students and educators as our North Star and doing
everything possible to promote deep and meaningful learning. Our future looks bright because we have
seen firsthand how our educators, students, and communities have stepped up to the challenges we have
faced. This gives us faith.
Our schools teach social and emotional skills for this very reason -- so when life throws unpredictable
events our way, we have the courage, adaptability, and compassion to keep aiming toward our goals.


Sincerely,




Darren Reisberg                                              Dr. Carmen I. Ayala
Chair of the Board                                           State Superintendent of Education




                                                                           Exhibit 13: Page 5 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 7 of 67 PageID #:246




Table of Contents
2020 Illinois Teacher of the Year ............................................................... 1
2020 Condition of Education ........................................................................ 2
State, Local, and Federal Resources ...................................................... 7
   State, Local, and Federal Resources for Elementary and Secondary Education ..........................7
   Elementary and Secondary School Income from Local Sources ....................................................8
   Net Lottery Proceeds Compared to Total Appropriations to ISBE ..................................................9
   State Revenues by Source ................................................................................................................ 10
   Appropriations by Major Purpose .................................................................................................... 11
   Expenditures by Major Purpose ....................................................................................................... 12
   State Mandated Categorical Grant Programs .................................................................................. 13
   Receipts and Expenditures for Illinois Public School Districts ..................................................... 14
   Public Schools Finance Statistics .................................................................................................... 15
   Total Resources Per Pupil Enrolled ................................................................................................. 16
   State Average Operating Expense Per Pupil ................................................................................... 17
   Operating Expense Per Pupil by Type of District ............................................................................. 17
   Total Funding Elementary and Secondary Education ..................................................................... 18
   State, Local, and Federal Funding ..................................................................................................... 18
   Percentages of State, Local and Federal Funding .......................................................................... 21

Schools and Districts .............................................................................. 20
   A Profile of Illinois Public Schools in 2019-20 .................................................................................. 20
   Illinois Public School Districts by Type ............................................................................................ 22
   Comparison of Public School Districts by Type and Enrollment 2009-10 and 2019-20 ............... 23
   Comparison of Public and Nonpublic Attendance Centers 2009-10 and 2019-20 .........................23
   Public School Recognition Committee Act or Omissions Status Report for the 2019-20 School
   Year ....................................................................................................................................................... 24

Students ................................................................................................... 25
   Public and Nonpublic Prekindergarten through Postgraduate Fall Pupil Enrollment ................. 25
   Comparison of Public School Enrollment 2009-10 and 2019-20 .................................................... 26
   Comparison of Public School Enrollment by Racial/Ethnic Distribution 2009-10 and 2019-20 .. 27
   Comparison of Nonpublic School Enrollment 2009-10 and 2019-20............................................. 27




                                                                                                           Exhibit 13: Page 6 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 8 of 67 PageID #:247



   English Learner Enrollment by Native Language 2019-20 ............................................................... 28
   English Learner Students by Transition Status and School Year Outcome 2019-20 .................... 29
   School Districts that Served More than 1,000 English Learners 2019-20 ....................................... 30
   English Learner Enrollment ................................................................................................................ 31
   Number of Preschool Children Served by State-Funded Programs ............................................... 31
   High School Graduates ........................................................................................................................ 32
   2019-20 High School Dropout Rate by Grade Level, Gender, and Race/Ethnicity ......................... 33
   Selected Report Card Variables and Statewide Trend Data ............................................................. 34

Student Performance ............................................................................... 35
   State Accountability Assessments ..................................................................................................... 35
   Dynamic Learning Maps (DLM) ........................................................................................................... 36
   2020 Advanced Placement Performance .......................................................................................... 37
   National Assessment of Educational Progress (NAEP) Average
   Student Scores for Illinois and U.S. Public Schools ......................................................................... 37
   National Assessment of Educational Progress (NAEP Comparison
   of Illinois and U.S. Achievement Gaps ............................................................................................... 38

Educators ................................................................................................. 39
   Number of Select Public School Personnel by Gender Full-Time Equivalents (FTE) ................... 39
   Nonpublic School Personnel Full-Time Equivalents (FTE) 2019-20 ................................................ 39
   Salaries for Select Full-Time Public School Personnel 2019-20 ...................................................... 40
   Public School Pupil-to-Teacher Ratios .............................................................................................. 40
   Educator Licenses Issued by Evaluation and Entitlement .............................................................. 41
   Educator Licenses Issued by Type ..................................................................................................... 41
   Educator Endorsements Issued by Type ........................................................................................... 42
   Educator Licensure Tests Administered by Test Fields ................................................................... 42
   National Board-Certified Teachers Certification Earned in Illinois .................................................. 43
   Expenditures to National Board-Certified Teachers ......................................................................... 44

Special Education ..................................................................................... 45
   Students with Disabilities Receiving Special Education .................................................................. 45
   Students with Disabilities by Gender ................................................................................................. 45
   Students with Disabilities by Race/Ethnic Group ............................................................................. 46
   Students with Disabilities by Age ....................................................................................................... 46
   Students with Disabilities Exiting School .......................................................................................... 47
   Students with Disabilities by Primary Language .............................................................................. 47




                                                                                                  Exhibit 13: Page 7 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 9 of 67 PageID #:248



   Students with Disabilities Receiving Related and Other Special Education Services ................ 48
   Educational Placement of Children with Disabilities Ages 3-5 ...................................................... 49
   Educational Placement of Children with Disabilities Ages 6-21 .................................................... 50
   Teachers Employed to Provide Special Education (FTE) ............................................................... 50
   Paraprofessionals Employed to Provide Special Education (FTE) ................................................ 51
   Special Education and Related Services Personnel (FTE) ............................................................. 51
   Due Process Cases Received ............................................................................................................ 52
   Mandated Categorical Grants Rate Analysis.................................................................................... 56
   Teachers' Retirement Systems .......................................................................................................... 57




                                                                                              Exhibit 13: Page 8 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 10 of 67 PageID #:249




                      Illinois Teacher of the Year
                                     Eric Combs, a band instructor at Richland County
                                     Middle School in Richland County Community Unit
                                     School District 1, is the 2020 Illinois Teacher of the
                                     Year. Combs was announced as last year’s top
                                     educator during the 45th annual Those Who
                                     Excel/Illinois Teacher of the Year banquet in Normal
                                     on Oct. 19, 2019.

                                     Combs represented Illinois in the National Teacher of
                                     the Year competition and represented Illinois at the
                                     Council of Chief State School Officers National
                                     Teacher of the Year Induction in Palo Alto, Calif., in
                                     February 2020.

                                      Combs’ approach to teaching is dedicated to the
                                      individualized success of his students. He has
                                      developed instructional plans tailored to maximize
 each student’s abilities so they can proceed through the program at their own pace. He
 also has developed his own spreadsheets to facilitate tracking of individual student
 progress and encourages his students to practice only when they want, as opposed to
 forcing a prescribed amount of time. He has also been seen handing out free instruments
 to students who may be interested in band, but don’t have the resources to participate. His
 approach to teaching, coupled with the way he assists other band educators in developing
 their own curricula, is helping Eric meet his goal of advancing the profession beyond
 where it was when he first started.

 Combs knew from an early age that he wanted to be a band instructor. As a self-
 proclaimed “shy kid,” he found music to be a way to express himself, with his saxophone
 being his “voice.” Combs went on after high school to earn both bachelor’s and master’s
 degrees in music education from Eastern Illinois University. He then came back to Olney
 and began his career teaching in the very same classroom where he had taken classes. In
 fact, his teacher had prophesized to Combs and his classmates that they would be old
 enough to replace him upon his retirement. Sure enough, that is what happened when
 Combs returned to the school as a teacher.

 Chair of the Board Darren Reisberg named Justin Johnson as the 2021 Illinois Teacher of
 the Year during the October 2020 Board meeting. Johnson is a band instructor at Niles
 West High School in Niles Township Community High Schools District 219 in Skokie.




                                              1
                                                                   Exhibit 13: Page 9 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 11 of 67 PageID #:250

                        2020 Condition of Education
Budget

The fiscal year 2021 general funds budget for preK-12 education was $8.9 billion, of which $7.2
billion was appropriated for Evidence-Based Funding (EBF). The Illinois State Board of
Education’s FY 2021 general funds budget was basically level-funded compared to FY 2020 due
to the COVID-19 pandemic, which resulted in a decline in state revenues.

FY 2021 marked the fourth year of implementation of EBF. The enactment of EBF
comprehensively changed the way that school districts receive the bulk of state funds. EBF sends
more resources to Illinois’ least well-funded students. The formula calculates a unique Adequacy
Target for each school district that is based on 34 cost factors, such as technology, instructional
coaches, counselors, and class sizes, that support student learning. The formula compares each
district’s current state and local resources to its Adequacy Target to produce a Percentage of
Adequacy that describes the districts’ financial capacity to meet expectations.

Enacted FY 2021 EBF appropriations provided sufficient funding to maintain each district’s
Base Funding Minimum level, equal to the funding it received in FY 2020; however, there were
no funds available for tier distribution, which is the portion of the formula that sends additional
appropriations primarily to the least well-funded districts. Eight out of every 10 students in
Illinois still attend schools funded at less than 90 percent of adequacy. The range of adequacy for
Illinois districts after FY 2021 funding is distributed will be 53 to 271 percent, which illustrates
the extent of the funding inequity that still exists.

Public Act 100-0465 provides a goal for the state to reach full funding of the formula by June 30,
2027. The projected total investment needed to bring all districts to at least 90 percent adequacy
is $4.8 billion -- or an annual increase of $799 million over the next six fiscal years -- to meet
statutory obligations. This projection is updated on an annual basis, and future funding
projections are affected by changes to student enrollment, student demographics, local resources,
recalibration of the cost factors, and any changes enacted through the legislative process. ISBE
continues to review and implement the state’s historic funding reform and recommend
recalibration and other modifications to EBF to meet the needs of all students in Illinois.

Student Demographics

The 2020 Illinois Report Card showed that Illinois continues to have a racially and linguistically
diverse student population. Students of color comprise a majority of Illinois' students (52.5
percent). Illinois also added more than 2,000 teachers to its workforce, maintained teacher
retention at 86 percent, and made modest increases in teacher diversity with greater proportions
of Hispanic and Asian teachers. The percentage of teachers who are teachers of color was
slightly higher at 17.7 percent, up from 15.3 percent in the 2018-19 school year.


                                                 2
                                                                     Exhibit 13: Page 10 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 12 of 67 PageID #:251

The percentage of students identified as English Learners continued to increase this year, from
12.1 percent in the 2018-19 school year to 12.5 percent in the 2019-20 school year. The number
of students with Individualized Education Programs decreased 15.5 percent in 2018-19 to 15
percent in 2019-20.

Overall student enrollment in Illinois public schools continues to decline, mirroring the state’s
population trend. Student enrollment totaled 1,957,018 in the 2019-20 school year.

Approximately half of all public school students in Illinois in the 2019-20 school year (48.5
percent) qualify as low income, compared to 39 percent just 15 years ago. Students qualify as
low income if they are in families receiving public aid, live in temporary housing, or are eligible
for free or reduced-price meals.

The average class size in 2019-20 decreased slightly to 21.8 students per class.

Learning Outcomes

The COVID-19 pandemic has affected almost every aspect of education in Illinois – temporarily
in some ways and lasting in others. ISBE’s new strategic plan provides a roadmap for Illinois
public schools through 2023 and defines the steps the agency will take to provide each and every
child in our state with safe and engaging schools, excellent teachers, and equitable learning
opportunities.

ISBE began implementing strategies throughout 2020 that are focused on three overarching
goals, all of which are underpinned by equity:
   • Student Learning: Every child will make significant academic gains each year,
        increasing their knowledge, skills, and opportunities so they graduate equipped to pursue
        a successful future, with the state paying special attention to addressing historic
        inequities.
   • Learning Conditions: All schools will receive the resources necessary to create safe,
        healthy, and welcoming learning environments, and will be equipped to meet the unique
        academic and social and emotional needs of each and every child.
   • Elevating Educators: Illinois’ diverse student population will have educators who are
        prepared through multiple pathways and are supported in and celebrated for their efforts
        to provide each and every child an education that meets their needs.

ISBE did not administer spring assessments due to COVID-19, so annual accountability
designations remained the same in 2020 as in 2019. However, the names of the “Lowest-
Performing” and “Underperforming” designations were changed to “Comprehensive” and
“Targeted,” respectively, to indicate the level of support a school will receive through IL-
EMPOWER, which is ISBE’s system of support. Each school receives a summative designation
based on multiple measures of performance. Schools with the greatest needs will continue to
receive additional federal funding and other state supports through the IL-EMPOWER.


                                                 3
                                                                     Exhibit 13: Page 11 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 13 of 67 PageID #:252

ISBE enhanced the IL-EMPOWER system based on an independent evaluation and the voices of
district and school staff and ISBE school support coordinators. IL-EMPOWER invests in adults
as learners, improves a school’s organizational capacity, aligns resources to school improvement,
and creates a culture and systems to support postsecondary success. In perhaps the most notable
shift, ISBE removed the requirement that schools allocate any of their School Improvement
Grant funding to working with Learning Partners and added state-funded Primary Partners that
will provide services to Comprehensive Schools based on each school’s needs assessment,
accountability data, and quarterly reports. Comprehensive and Targeted Schools will transition
to the enhanced IL-EMPOWER framework over the course of the 2020-21 school year.

Student Performance and Achievement

Illinois’ students and educators charted historic gains in college and career courses, despite the
disruption to the school year caused by the COVID-19 pandemic. The 2020 state-level Illinois
Report Card data showed continued growth and higher-than-ever participation in college and
career preparation courses.

More than 8,000 additional high school students took career and technical education, dual credit,
Advanced Placement (AP), and International Baccalaureate courses in the 2019-20 school year,
compared to the prior year. The Class of 2020 also took over 14,500 more AP Exams during
high school than the Class of 2019 and achieved a 70 percent pass rate – two percentage points
higher than the Class of 2019.

Career and technical education programs enrolled 286,237 students in 2020 – an increase of
nearly 9,000 students since 2017. ISBE’s state plan for career and technical education will drive
further increases in access to college and career preparation courses for historically
underrepresented students.

The 2020 Illinois Report Card also marked the fifth consecutive year that the percentage of
students needing to enroll in remedial courses at Illinois’ community colleges has declined.
Illinois lawmakers enacted the Postsecondary and Workforce Readiness Act in 2016 to
strengthen pathways from eighth grade all the way through high school and onto college and
career. The transitional math component of this law went into effect as an opt-in alternative for
districts in the 2018-19 school year. Passing a transitional math course as a high school senior
gives that student guaranteed placement into credit-bearing college math courses – with no need
to take a placement test. Every student in grade 12 will have the opportunity to take at least one
transitional math course beginning no later than the 2021-22 school year.

The COVID-19 pandemic made most other student data from the 2019-20 school year either
unavailable or unable to support year-to-year comparisons, including:

   •   Assessments: Illinois received a federal waiver and did not administer state assessments
       that are normally required by the federal government in math, English language arts, and
       science; therefore, 2020 assessment data is not available.

                                                 4
                                                                     Exhibit 13: Page 12 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 14 of 67 PageID #:253

   •   Attendance: Illinois schools had to shift to remote learning in the spring without
       standardized methods of recording remote attendance; therefore, 2019-20 student and
       teacher attendance data cannot be compared to prior years.
   •   Culture and climate survey: Illinois received a federal waiver and did not complete the
       administration of the culture and climate survey that is normally required by the federal
       government; therefore, 2019-20 culture and climate survey data is not available.
   •   Graduation rates: Executive Order 2020-31 amended state graduation requirements for
       students expecting to graduate in spring 2020; therefore, 2020 graduation rates cannot be
       compared to prior years.
   •   Ninth-graders on track: ISBE strongly encouraged Illinois schools to amend normal
       grading policies in spring 2020; therefore, 2020 ninth-graders on track metrics cannot be
       compared to prior years.

ISBE is partnering with the Regional Educational Laboratory Midwest to collect and analyze
local standardized assessment data from participating school districts in order to evaluate how
student learning changed during COVID-19. ISBE will issue a state-level report in early 2021.




                                                5
                                                                   Exhibit 13: Page 13 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 15 of 67 PageID #:254




                    2020 Annual Report
Demographic, Financial, and Statistical Data




                                         6
                                         8
                                                         Exhibit 13: Page 14 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 16 of 67 PageID #:255



        STATE, LOCAL, AND FEDERAL RESOURCES

                           State, Local, and Federal Resources
                         For Elementary and Secondary Education
                                         (Dollars in Millions)
                                          (105 ILCS 5/2-3.11)

   Year                State                     Local                Federal               Total
                  $              %            $           %         $        %                $
 2019-20        14,168.2        37.5%      19,299.3     51.1%    4,300.6    11.4%           37,768.1
 2018-19        13,294.0        37.7%      18,310.2     51.9%    3,656.5    10.4%           35,260.7
 2017-18        12,509.9        36.7%      17,942.0     52.6%    3,654.6    10.7%           34,106.5
 2016-17        11,670.4        35.6%      17,552.8     53.5%    3,602.6    11.0%           32,825.8
 2015-16        10,881.5        34.8%      17,271.2     55.2%    3,149.1    10.1%           31,301.8
 2014-15        10,438.6        34.6%      16,793.7     55.6%    2,976.5      9.9%          30,208.8
 2013-14        10,305.2        34.5%      16,560.4     55.4%    3,007.4    10.1%           29,873.0
 2012-13         9,411.6        33.1%      16,075.6     56.5%    2,976.7    10.5%           28,463.9
 2011-12         9,315.8        32.4%      15,815.4     55.1%    3,580.8    12.5%           28,712.0
 2010-11         7,568.2        28.0%      15,344.1     56.7%    4,127.2    15.3%           27,039.5
 2009-10         8,613.0        31.6%      15,037.0     55.1%    3,637.4    13.3%           27,287.5
 2008-09         9,105.7        34.5%      14,488.5     54.9%    2,773.7    10.5%           26,367.9
 2007-08         8,519.6        34.6%      13,903.7     56.5%    2,165.7      8.8%          24,589.0
 2006-07         7,492.1        33.1%      12,982.2     57.3%    2,174.1      9.6%          22,648.4
 2005-06         6,903.1        32.4%      12,226.1     57.4%    2,163.1    10.2%           21,292.4
 2004-05         6,922.0        33.6%      11,456.7     55.6%    2,219.3    10.8%           20,598.0
 2003-04         7,223.2        35.9%      10,805.3     53.8%    2,073.8    10.3%           20,102.3
 2002-03         6,812.8        35.9%      10,226.2     53.8%    1,952.1    10.3%           18,991.1
 2001-02         6,296.1        35.7%       9,724.0     55.1%    1,623.0      9.2%          17,643.1
 2000-01         6,441.0        37.3%       9,331.6     54.1%    1,482.0      8.6%          17,254.6
 1999-00         5,932.0        36.7%       8,907.0     55.1%    1,328.1      8.2%          16,167.0

Notes:
   • Fiscal years and school years start July 1 and end June 30. Tax years start Jan. 1 and end Dec.
       31. The state and federal funds shown are based on fiscal years while local funds are based on
       tax (calendar) years. For example, the 2019-20 year includes actual state and federal
       appropriations for state fiscal year 2020 and local revenues accruing to school districts from the
       2018 tax year. The 2018 property taxes are payable to the districts in calendar year 2019, usually
       after July 1.
   • Local includes local original property tax revenues as estimated by the total property tax
       extension of districts and Corporate Personal Property Replacement Funds. Not included as
       local revenue are proceeds from investment income, income from school food services, and
       revenue generated through fees and assessments.
   • State includes appropriated amount, including original appropriations, supplementals, and
       teachers’ retirement contributions (does not include employer contributions).
   • FY 2009 federal sources include $1.5 billion in federal funds received through the American
       Recovery and Reinvestment Act.
   • State and federal data for FY 2000 through FY 2020 is from Illinois Office of the Comptroller
       (IOC).
   • Amounts and percentages may not sum to totals due to rounding.


                                                    7
                                                                         Exhibit 13: Page 15 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 17 of 67 PageID #:256


            Elementary and Secondary School Income from Local Sources
                                         (Dollars in Millions)
                                          (105 ILCS 5/2-3.11)

                                                                      CPP
                      Calendar Year         Property Tax          Replacement          Total Regular
    Tax Year            Collected            Revenue a              Fund b               Revenue
        2018                2019               18,491.2                808.2               19,299.3
        2017                2018               17,660.1                650.1               18,310.2
        2016                2017               17,226.9                715,1               17,942.0
        2015                2016               16,870.7                677.1               17,547.9
        2014                2015               16,507.0                764.2               17,271.2
        2013                2014               16,077.0                716.7               16,793.7
        2012                2013               15,864.1                696.3               16,560.4
        2011                2012               15,447.6                628.0               16,075.6
        2010                2011               15,188.5                626.9               15,815.4
        2009                2010               14,632.6                711.4               15,344.0
        2008                2009               14,377.2                659.8               15,037.0
        2007                2008               13,706.4                782.1               14,488.5
        2006                2007               13,109.8                793.9               13,903.7
        2005                2006               12,310.9                671.3               12,982.2
        2004                2005               11,600.7                625.4               12,226.1
        2003                2004               11,001.7                455.0               11,456.7
        2002                2003               10,398.8                406.5               10,805.3
        2001                2002               9,823.8                 402.4               10,226.2
        2000                2001               9,220.2                 503.8               9,724.0
        1999                2000               8,775.2                 556.4               9,331.6
        1998                1999               8,405.7                 501.3               8,907.0

a Revenue  is the product of multiplying total tax rates by Original Equalized Assessed Valuation amounts.
b CPP Replacement Tax Revenue represents Corporate Personal Property Replacement Tax revenue
 distributed to school districts during a calendar year.




                                                    8
                                                                         Exhibit 13: Page 16 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 18 of 67 PageID #:257


                                 Net Lottery Proceeds
                         Compared to Total Appropriations to ISBE
                                        (Dollars in Millions)
                                          (105 ILCS 5/2-3.11)

                               Total State                     Net Lottery Proceedsb
        Fiscal Year          Appropriationsa                Amount              % of Total
            2020                $14,168.2                   $630.4                      4.4%
            2019                 $13,294.0                  $731.1                      5.5%
            2018                 $12,509.9                   $718.8                     5.7%
            2017                 $11,670.4                   $720.3                     6.2%
            2016                 $10,881.5                   $676.9                     6.2%
            2015                 $10,438.6                   $678.6                     6.5%
            2014                 $10,305.2                   $668.1                     6.5%
            2013                  $9,411.6                   $655.6                     7.0%
            2012                  $9,315.2                   $639.9                     6.9%
            2011                  $7,568.2                   $631.9                     8.3%
            2010                  $8,613.0                   $625.0                     7.3%
            2009                  $9,105.7                   $625.0                     6.9%
            2008                  $8,519.6                   $657.0                     7.7%
            2007                  $7,492.1                   $622.4                     8.3%
            2006                  $6,903.1                   $670.5                     9.7%
            2005                  $6,922.0                   $614.0                     8.9%
            2004                  $7,223.2                   $570.1                     7.9%
            2003                  $6,815.8                   $540.3                     7.9%
            2002                  $6,296.1                   $555.1                     8.8%
            2001                  $6,441.0                   $501.0                     7.8%
            2000                  $5,932.0                   $515.3                     8.7%

a General Funds include retirement contributions and supplemental appropriations.
b NetLottery Proceeds stated above reflect transfers to the Common School Fund and are provided by
the Commission on Government Forecasting and Accountability in the Wagering in Illinois 2020 Update
and sources from the Illinois Lottery and Illinois Office of the Comptroller.

Notes:
   • Net Lottery Proceeds have been deposited into the Common School Fund since FY 1985.
   • Starting March 1, 2010, annual transfers to the Common School Fund are equal to the amount
       transferred in FY 2009, adjusted for inflation. Any additional net revenue is deposited in the
       Capital Projects Fund.




                                                   9
                                                                        Exhibit 13: Page 17 of 66
 Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 19 of 67 PageID #:258




                                   State Revenues by Source
                                         (Dollars in Millions)
                                          (105 ILCS 5/2-3.11)




ALL FUNDS REVENUE BY
SOURCE                                            FY 2020 *                  FY 2021 (est.)**

Income Taxes (Gross)                         $24,257          28.8%         $22,615            28.2%
Sales Taxes (Gross)                           9,937           11.8%          10,218            12.7%
Federal Aid                                  25,410           30.2%          22,571            28.1%
Public Utility                                1,347            1.6%           1,592             2.0%
State Lottery (Net)                           1,164            1.4%           1,399             1.7%
All other Sources/Transfers                  21,901           26.1%          21,821            27.2%

Total                                         84,016         100.0%          80,216            100.0%

*Source: FY 2020 IOC Traditional Budgetary Report (p.14) and does not include bond proceeds or
short-term borrowing.
**Source: Illinois State Budget Fiscal Year 2021 (p. 113).




GENERAL FUNDS BY
SOURCE                                        FY 2020 *                         FY 2021 (est.)

Income Taxes (Gross)                     $24,253             54.8%             $24,117         51.3%
Sales Taxes (Gross)                        8,691             19.6%               7,819         16.6%
Federal Aid                                3,551              8.0%               3,684          7.8%
Public Utility                               831              1.9%                 828          1.8%
State Lottery (Net)                          630              1.4%                 636          1.4%
All other                                  6,301             14.2%               9,920         21.1%
Sources/Transfers

Total                                      44,257            100.0%              47,004        100.0%

Source: Commission on Government Forecasting and Accountability FY 2021 Budget Summary
published July 31, 2020.

Amounts and percentages may not sum to totals due to rounding.

Income and Sales Taxes represent gross amounts not reduced for distributions to other funds.




                                                    10
                                                                      Exhibit 13: Page 18 of 66
 Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 20 of 67 PageID #:259



                            Appropriations by Major Purpose
                                      (Dollars in Millions)
                                       (105 ILCS 5/2-3.11)


ALL FUNDS BY SOURCE                          FY 2020                       FY 2021 (est.)

Elementary & Secondary
Education                                $18,469         20.3%            $18,796           18.9%
Higher Education                           4,309          4.7%              4,455            4.5%
Human Services                            37,777         41.5%             43,196           43.3%
Public Safety                              4,875          5.4%              5,548            5.6%
Environmental & Business                   1,329          1.5%              1,481            1.5%
Regulation
Economic Development &                     6,370             7.0%           6,866           6.9%
Infrastructure
Governmental Services &                   17,818         19.6%             19,339           19.4%
Elected Officials
Total                                    $90,948        100.0%            $99,681       100.0%




GENERAL FUNDS BY
SOURCE                                       FY 2020                       FY 2021 (est.)

Elementary & Secondary
Education                                $14.098         36.0%            $14,447           36.0%
Higher Education                           3,587          9.2%              3,728            9.3%
Human Services                            14,331         36.6%             14,947           37.3%
Public Safety                              2,017          5.2%              2,021            5.0%
Environmental & Business                      54          0.1%                 55            0.1%
Regulation
Economic Development &                       107             0.3%             121           0.3%
Infrastructure
Governmental Services &                    4,919         12.6%              4,778           11.9%
Elected Officials
Total                                    $39,113        100.0%            $40,096       100.0%

Source: Governor's Office of Management and Budget Website; Table IA – FY 2020 Final
Appropriations and FY 2021 Enacted Appropriations

Amounts and percentages may not sum to totals due to rounding.




                                               11
                                                                    Exhibit 13: Page 19 of 66
        Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 21 of 67 PageID #:260


                                Expenditures by Major Purpose
                                        (Dollars in Millions)
                                         (105 ILCS 5/2-3.11)


ALL FUNDS BY SOURCE                              FY 2020                       FY 2021 (est.)
Elementary & Secondary Education               11,175           13.3%          18,796         18.9%
Higher Education                                2,202            2.6%           4,455          4.5%
Human Services                                 32,654           38.9%          43,196         43.3%
Public Safety                                   2,606            3.1%           5,548          5.6%
Environmental & Business Regulation             1,327            1.6%           1,481          1.5%
Economic Development & Infrastructure           6,921            8.2%           6,866          6.9%
Governmental Services & Elected
Officials                                      27,141           32.3%           19,339       19.4%

Total                                        $84,025            100.0%         $99.681      100.0%




GENERAL FUNDS BY SOURCE                          FY 2020                       FY 2021 (est.)
Elementary & Secondary Education                3,042           21.2%          14,447         36.6%
Higher Education                                  996            6.9%           3,728          9.3%
Human Services                                  4,533           31.6%          14,947         37.3%
Public Safety                                     597            4.2%           2,021          5.0%
Environmental & Business Regulation                20            0.1%              55          0.1%
Economic Development & Infrastructure              21            0.1%             121          0.3%
Governmental Services & Elected                 5,132           35.8%           4,778         11.9%
Officials

Total                                        $14,340            100.0%         $40,096      100.0%




                                                 12
                                                                     Exhibit 13: Page 20 of 66
                                       Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 22 of 67 PageID #:261

                                                                State-Mandated Categorical Grant Programs
                                                                                  (Dollars in Thousands)
                                                                                    (105 ILCS 5/2-3.104)
                                                                                   Appropriations
  Program Name                            FY 2013           FY 2014            FY 2015         FY 2016              FY 2017           FY 2018         FY 2019     FY 2020
  Sp Ed Personnel                        440,200.0         439,061.8          430,588.8      440,114.6             442,400.0               0.0             0.0         0.0
  Sp Ed Funding for Children             314,196.1         303,091.7          296,113.0      303,829.7             303,829.7               0.0             0.0         0.0
  Sp Ed Private Tuition                  206,843.3         218,947.7          225,013.1      233,000.0             233,000.0         135,265.5       135,265.5   152,320.0
  Sp Ed Summer School                     10,100.0          10,100.0           10,100.0       11,700.0              11,700.0               0.0             0.0         0.0
  Sp Ed Transportation                   440,500.0         440,500.0          440,363.8      452,785.4             450,500.0         387,682.6       387,682.6   387,682.6
  Reg/Voc Transportation                 205,808.9         206,947.1          201,178.2      205,808.9             205,808.9         262,909.8       262,909.8   289,200.8
  Ill Free Lunch/Breakfast                14,300.0          14,300.0            9,000.0         9,000.0              9,000.0           9,000.0         9,000.0     9,000.0
  Sp Ed Orphanage                        111,000.0         105,000.0           92,862.5       95,000.0             103,472.5          73,477.6        73,000.0    91,700.0
  Reg Ed Orphanage                        13,000.0          12,000.0           11,730.0       11,500.0              21,500.0          17,000.0        13,600.0    10,100.0
                        Totals         1,755,948.3       1,749,948.3        1,716,949.4    1,762,738.6           1,781,211.1         885,335.5       881,457.9   940,003.4
           Percentage Growth               -1.44%            -0.34%             -1.89%           2.67%                1.05%           -50.30%          -0.44%       6.64%
                                          100% Claims including Chicago 299 (No Audit Adjustments): Reimbursement Programs
  Appropriation Year                       FY 2013       FY 2014       FY 2015         FY 2016       FY 2017      FY 2018                             FY 2019     FY 2020
  School Year                              2011-12       2012-13       2013-14         2014-15       2015-16      2016-17                             2017-18     2018-19
  Sp Ed Personnel                        440,282.4      441,525.2     439,932.1      442,512.2      443,361.7         0.0                                  0.0         0.0
  Sp Ed Funding for Children             314,196.1      303,091.7     302,928.9      303,829.7      303,829.7         0.0                                  0.0         0.0
  Sp Ed Private Tuition                  216,782.0      226,181.2     231,983.4      240,693.8      238,404.1   149,525.5                            168,709.0   191,438.9
  Sp Ed Summer School                     10,270.7       11,151.9      11,617.4       12,756.2       12,348.2         0.0                                  0.0         0.0
  Sp Ed Transportation                   440,149.6      449,057.4     454,828.6      464,444.6      480,617.0   427,121.0                            453,408.6   469,663.1
  Reg/Voc Transportation                 320,773.0      329,858.8     340,649.5      351,110.9      343,981.0   341,295.0                            358,456.9   373,219.7
  Appropriation Year                       FY2013            FY 2014           FY 2015             FY 2016           FY 2017          FY 2018         FY 2019     FY 2020
  Ill Free Lunch/Breakfast                38,000.9           39,432.9          42,744.4            41,734.8          41,369.5         30,127.5        29,415.1    21,132.8
  Sp Ed Orphanage                        103,488.0           99,706.6          96,128.6            96,075.6          93,163.1         73,244.8        79,309.4    85,521.4
  Reg Ed Orphanage                        11,575.3           11,166.4          14,133.5            14,551.9          12,401.8          9,895.3         9,574.0     9,761.2
  Pro-Ration Reimburse %                  FY 2013            FY 2014            FY 2015            FY 2016           FY 2017          FY 2018         FY 2019     FY 2020
  Sp Ed Personnel                           100%               100%                98%               100%              100%               0%              0%          0%
  Sp Ed Funding for Children                100%               100%                98%               100%               99%               0%              0%          0%
  Sp Ed Private Tuition                      91%                94%                94%                94%               96%              90%             80%         80%
  Sp Ed Summer School                        96%                81%                75%                84%               89%               0%              0%          0%
  Sp Ed Transportation                       99%                97%                95%                97%               92%              91%             86%         83%
  Reg/Voc Transportation                     76%                74%                71%                70%               71%              84%             82%         84%
  Ill Free Lunch/Breakfast                   38%                36%                21%                22%               22%              30%             31%         43%
  Sp Ed Orphanage                           100%               100%               100%               100%              100%             100%            100%        100%
  Reg Ed Orphanage                          100%               100%               100%               100%              100%             100%            100%        100%
Notes:
    •    Current fiscal year appropriations pay previous year claims, except for Illinois Free Lunch/Breakfast, Orphanage, and Bilingual programs.
    •    Appropriation and claim amounts include amounts funded through the Chicago Block Grants.



                                                                                              13
                                                                                                                                             Exhibit 13: Page 21 of 66
                            Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 23 of 67 PageID #:262

                                           Receipts and Expenditures for Illinois Public School Districts
                                                                  (Dollars in Millions)
                                                                   (105 ILCS 5/2-3.11)

                             FY 2011     FY 2012    FY 2013    FY 2014       FY 2015      FY 2016    FY 2017    FY 2018     FY 2019
Receipts
 Local Taxes/Payments
   in Lieu of Taxes          15,234.4   16,027.9   16,164.4    16,524.0     16,820.2      17,183.3   17,911.3   18,247.6    18,537.2

 Other Local                  1,331.7    1,249.1     1,240.8    1,188.1       1,232.4      1,306.7    1,411.6    1,619.9     1,876.5

 General State Aid            4,484.8    4,308.8     4,246.4    4,391.1       4,376.0      4,639.2    4,988.9    6,306.9     6,681.2

 Other State Funds            2,489.4    2,535.7     2,631.0    2,571.6       2,300.5      1,939.3    1,937.3    1,803.2     1,495.3

 Federal Funds                2,640.9    2,127.5     2,078.7    2,094.6       2,051.0      2,122.4    2,128.0    2,127.1     2,145.9

                             26,181.1   26,248.9   26,361.3    26,769.3     26,780.0      27,190.9   28,377.1   30,104.7    30,736.1

Expenditures

 Instruction                 12,712.5   12,960.3   13,241.5    13,789.4     14,227.2      14,439.4   14,584.8   14,710.6    15,181.6

 General Administration         859.8      893.1      887.1      904.8          908.7       904.7      914.1      926.6          976.7

 Support Services             8,086.5    8,067.7     8,223.8    8,496.5       8,446.7      8,458.9    8,593.9    8,851.1     9,354.6

 Community Services             123.5      121.4      129.7      136.9          143.2       142.3      142.8      163.9          172.8
 Payments to Other
  Gov’t. Units (In state,
                                                                                                                                 775.8
  out of state)                 706.8      732.0      728.7      725.4          709.4       725.3      706.9      766.7

 Debt Service Retired         1,116.9    1,153.8     1,226.7    1,355.0       1,415.9      1,458.6    1,883.0    1,994.1     1,646.1

 Debt Services (Interest)       856.0      907.2      921.9      917.4          930.9       971.8      998.3     1,056.7     1,056.8
 Capital Outlay/Non-
  Capitalized Equip.          1,856.7    1,988.1     1,932.1    1,974.6       2,012.0      1,987.5    1,870.8    2,193.0     2,736.6

                             26,318.5   26,823.6   27,291.6    28,300.0    28,7940.0      29,088.4   29,694.6   30.662.7    31,901.0




                                                                  14
                                                                                                     Exhibit 13: Page 22 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 24 of 67 PageID #:263




                          Public Schools Finance Statistics
                                      (105 ILCS 5/2-3.11)

                                                            Per Capita      Operating
                                                               Tuition       Expense
                   District Type                               Charge        per Pupil

       FY 2019 Elementary                                     $12,422          $13,976
               Secondary                                       17,178           18,529
               Unit                                            11,774           13,903
               ALL DISTRICTS                                   12,612           14,492
               Chicago SD 299                                  14,046           16,923

       FY 2018 Elementary                                     $11,698          $13,370
               Secondary                                       16,282           17,749
               Unit                                            10,848           13,137
               ALL DISTRICTS                                   11,740           13,764
               Chicago SD 299                                  12,678           15,878

       FY 2017 Elementary                                     $11,655          $12,859
               Secondary                                       16,463           17,519
               Unit                                            10,784           12,720
               ALL DISTRICTS                                   11,701           13,337
               Chicago SD 299                                  12,255           15,412

       FY 2016 Elementary                                     $11,236          $12,504
               Secondary                                       15,912           17,044
               Unit                                            10,620           12,374
               ALL DISTRICTS                                   11,422           12,973
               Chicago SD 299                                  12,544           14,973

       FY 2015 Elementary                                     $10,925          $12,173
               Secondary                                       15,398           16,494
               Unit                                            10,382           12,354
               ALL DISTRICTS                                   11,133           12,808
               Chicago SD 299                                  12,229           15,310

  District types:
    Elementary School Districts: PreK-8
    Secondary (High) School Districts: 9-12
    Unit School Districts: PreK-12

  Source: School Business Services Operating Expense Per Pupil (OEPP)/Per Capita Tuition Charge
  (PCTC)/Average Daily Attendance (ADA) State Totals Historical File.




                                              15
                                                                  Exhibit 13: Page 23 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 25 of 67 PageID #:264




                             Total Resources per Pupil Enrolled
                                        (105 ILCS 5/2-3.11)

                                                                                   % Change in
Fiscal                                   Fall             Total Resources         Dollars Per Pupil
 Year      Total Resourcesa          Enrollmentb         Per Pupil Enrolledc          Enrolled
2020           $37,768.1               1,957,018                $19,300                    8.6%
2019            35,260.7               1,984,519                17,768                     4.5
2018            34,106.5               2,005,153                17,009                     5.1
2017            32,814.0               2,028,162                16,179                     5.6
2016            31,289.8               2,041,779                15,325                     4.7
2015            30,107.2               2,057,858                14,630                     1.6
2014            29,861.2               2,073,480                14,401                     4.0
2013            28,453.1               2,054,155                 13,851                    0.7
2012            28,701.7               2,087,628                 13,748                    1.5
2011            28,091.7               2,074,806                 13,539                   -0.2
2010            28,571.8               2,105,779                 13,568                    9.0
2009            26,293.9               2,112,132                 12,449                    7.0
2008            24,589.0               2,113,435                 11,635                    8.8
2007            22,648.4               2,118,692                 10,690                    6.2
2006            21,264.7               2,111,706                 10,070                    2.4
2005            20,631.7               2,097,503                  9,836                    2.9
2004            20,085.2               2,100,961                  9,560                    4.6
2003            19,051.5               2,084,187                  9,141                    2.2
2002            18,528.1               2,071,391                  8,945                    2.0
2001            17,984.7               2,051,021                  8,769                    5.2
2000            16,827.2               2,018,316                  8,337                    7.1


Note: Resources and percent changes have been updated for fiscal years 2010 through 2015.

a In millions; includes state, federal, and local funds and pensions.
b Priorto FY 2016, Fall Enrollment was a snapshot of student enrollment taken from the Student
 Information System (SIS) as of Oct. 15. Beginning in FY 2016, Fall Enrollment is the State Report
 Card total that has been verified by districts.
c In whole dollars.




                                                 16
                                                                       Exhibit 13: Page 24 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 26 of 67 PageID #:265




                                  State Operating Expense per Pupil
                                          (in whole dollars)
  $15,000
                                                                                                                   $14,492
  $14,500

  $14,000                                                                                                $13,764
                                                                                               $13,337
  $13,500
                                                                                    $12,973
                                                                         $12,808
  $13,000
                                                               $12,521
  $12,500
                                                     $12,045
                                          $11,842
  $12,000                       $11,664
                      $11,537
  $11,500   $11,197

  $11,000

  $10,500

  $10,000
             FY 09     FY 10     FY 11     FY 12      FY 13     FY 14     FY 15      FY 16      FY 17     FY 18      FY 19



Source: School Business Services OEPP/PCTC/ADA State Totals Historical File.




                                Operating Expense per Pupil by Type of District
                                              (in whole dollars)
                                                                                                                       $18,529
                                                                                                 $17,519 $17,749
  $18,000                                                                             $17,044
                                                                $16,165 $16,494
                                                      $15,621
  $16,000                                  $15,138
                      $14,686 $14,681
            $14,260
                                                                                                                       $13,903
  $14,000                                                                                                  $13,137
                                                                                                 $12,718
                                                                $12,096 $12,354 $12,374                                $13,976
  $12,000             $11,370 $11,262 $11,338 $11,532                                                      $13,370
            $10,821                                                                              $12,859
                                                              $12,173 $12,504
                                      $11,457 $11,594 $11,846
  $10,000             $11,082 $11,190
            $10,633

   $8,000
             FY 09     FY 10      FY 11     FY 12      FY 13     FY 14      FY 15      FY 16      FY 17      FY 18      FY 19

                                          Secondary             Elementary             Unit



Source: School Business Services OEPP/PCTC/ADA State Totals Historical File.




                                                                17
                                                                                               Exhibit 13: Page 25 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 27 of 67 PageID #:266




                                                                               Total Funding
                                                                    Elementary and Secondary Education
                            $40,000.0
                                                                                                                                                   $37,768.1
                            $38,000.0
     Dollars in Millions




                            $36,000.0
                                                                                                                      $34,106.5                $35,260.7
                            $34,000.0
                                                                                                                           $32,825.8
                            $32,000.0
                                                                             $29,873.0                        $31,301.8
                            $30,000.0                 $28,712.0
                                                                                            $30,208.8
                                                                        $28,463.9
                            $28,000.0
                                                    $27,039.5
                            $26,000.0

                            $24,000.0
                                           FY 11       FY 12       FY 13        FY 14      FY 15       FY 16          FY 17       FY 18    FY 19           FY 20




                                                                     State, Local and Federal Funding
                                                                  Elementary and Secondary Education
                      $25,000.0


                                                                                                                                                            $19,299.3
                      $20,000.0
                                                                                                                      $17,552.8
                                                                             $16,560.4
                                        $15,344.1                                                                                 $17,942.0 $18,310.2
Dollars in Millions




                      $15,000.0                                                            $16,793.7    $17,217.2
                                                    $15,815.4 $16,075.6
                                                                                                                              $12,509.9
                                                                                                                                               $13,294.0     $14,168.2
                                                       $9,315.8                $10,305.2                                      $11,670.4
                                                                                                               $10,881.5
                      $10,000.0
                                                                                               $10,438.6
                                                                   $9,411.6
                                          $7,568.2
                                                     $4,127.2                                                                                   $3,654.6     $3,656.5
                           $5,000.0                                            $2,976.7     $3,007.4
                                                                                                                       $3,149.1

                                         $3,637.4                                                                                   $3,602.6
                                                                  $3,580.8                                 $2,976.5

                               $0.0
                                         FY11         FY12        FY13     FY14             FY15           FY16    FY17             FY18         FY19         FY20
                                                                     Local                 State              Federal




                                                                                          18
                                                                                                                          Exhibit 13: Page 26 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 28 of 67 PageID #:267




                                                  Percentages of
                                         State, Local, and Federal Funding
               60%
                                                                          53.5%   52.6%   51.9%
                     56.7%    55.1%   56.5%   55.4%    55.6%      55.2%
               50%
                                                                                                  51.1%

               40%   34.5%
                             31.6%            32.4%
                                                                  34.5%   34.6%   34.8%   35.6%   36.7%
  Percent of




               30%                                     33.1%

                                      28.0%
               20%                    15.3%
                                              12.5%
                     10.5%                             10.5%      10.1%   9.9%    10.1%   11.0%   10.7%
               10%           13.3%


               0%
                     FY 11   FY 12    FY 13   FY 14    FY 15      FY 16   FY 17   FY 18   FY 19   FY 20

                                               Local      State       Federal




                                                         19
                                                                                  Exhibit 13: Page 27 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 29 of 67 PageID #:268




                          SCHOOLS AND DISTRICTS

                       A Profile of Illinois Public Schools in 2019-20
                        Selections from School Report Card Files
                                (regular public schools only)

                                             SUMMARY

           852 districts (regular public)                     3,859 schools
           1,957,018 students                                 52.5% students of color
           48.5% low-income enrollment                        12.5% EL enrollment


                                              TRENDS

Number of school districts 852. The number of operating school districts with enrollment
decreased from 868 in 2010 to 852 in 2020; there were 368 elementary districts, 96 high school
districts and 388 unit districts.

Decrease in the number of public schools. The number of public schools has decreased over
the past decade from 3,912 in 2010 to 3,859 in 2020. These figures include charter schools and
regular public schools that issue school report cards.

Decrease in the average school size. The average school size has decreased from 528
students in 2010 to 497 in 2020.

Student enrollment decreased. Student enrollment in regular Illinois public schools decreased
from 2,064,312 in 2010 to 1,957,018 in 2020, according to the Fall Housing enrollment counts.
This count differs from the enrollment in the Illinois Report Card, which is taken on Oct. 1 and is
verified by district superintendents. Calculations involving enrollment will either be based on Fall
Housing (SIS) or Illinois Report Card data, which will be noted. Student enrollment has been
based on serving school since 2017, and home school prior to that.

Low-income enrollment increased. The number of low-income students increased from 45.4
percent of the enrollment in 2010 to 48.5 percent in 2020. Pupils are considered low-income if
they are from families receiving public aid, are living in institutions for neglected or delinquent
children, are being supported in foster homes with public funds, or are eligible for free or
reduced-price lunches.

Percentage of students of color exceeded 50 percent. Students who are Black, Hispanic,
Asian, American Indian or Alaskan Native, Hawaiian or Other Pacific Islander, or Two or More
Races made up 52.5 percent of the enrollment in 2020, up from 47.2 percent in 2010.

Number of English Learners (EL) increased in last decade. The percentage of EL students
increased from 7.6 percent in 2010 to 12.5 percent in 2020. EL students include those who are
eligible for bilingual education.




                                                 20
                                                                     Exhibit 13: Page 28 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 30 of 67 PageID #:269



Average class size decreased slightly in grades K-3 and increased slightly in grades 6-
12. Between 2010 and 2020, the average class sizes varied:
       Kindergarten --- from 20.7 to 19.1
       Grade 1 --- from 21.2 to 20.8
       Grade 3 --- from 22.1 to 21.9
       Grade 6 --- from 21.5 to 23.1
       Grade 8 --- from 21.0 to 22.5
       High School (grades 9-12) --- from 19.7 to 21.6

Percentage of teachers of color increased in the last decade. Teachers of color accounted
for 14.8 percent of the classroom teachers in 2010 compared to 17.7 percent in 2020. Teachers
of color include those who are Black, Hispanic, Asian, American Indian or Alaskan Native,
Hawaiian or Other Pacific Islander, Two or More Races, or unknown.

Slight increase in the percentage of male classroom teachers. There is an upward trend in
the percentage of male teachers, increasing from 23.0 percent of the teaching force in 2010 to
23.2 percent in 2020.

Percentage of teachers with graduate degrees increased. In 2020, teachers who had a
master’s degree or higher accounted for 59.8 percent of the classroom teachers in Illinois public
schools, up from 57.4 percent in 2010.

Pupil-teacher ratio remained steady at the elementary level and increased at the
secondary level. Between 2010 and 2020, the elementary pupil-teacher ratio decreased
slightly from 18.2:1 to 18.1:1, while the secondary pupil-teacher ratio increased slightly from
18.2:1 to 18.6:1.




                                                21
                                                                     Exhibit 13: Page 29 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 31 of 67 PageID #:270




                        Illinois Public School Districts by Type
                                        (105 ILCS 5/2-3.11)

                    Elementary            Secondary               Unit                 Total
 School Year         Districts             Districts            Districts            Districtsa

   2019-20               368                    96                 388                   852
   2018-19               368                    96                 388                   852
   2017-18               368                    96                 388                   852
   2016-17               368                    96                 388                   852
   2015-16               369                    98                 386                   853
   2014-15               373                    99                 385                   857
   2013-14               374                  100                  386                   860
   2012-13               375                  100                  387                   862
   2011-12               377                  100                  388                   865
   2010-11               378                  101                  388                   867
   2009-10               378                  101                  389                   868
   2008-09               378                  101                  390                   869
   2007-08               378                  102                  390                   870
   2006-07               376                  102                  395                   873
   2005-06               377                  102                  395                   874
   2004-05               379                  103                  399                   882
   2003-04               381                  103                  404                   888
   2002-03               383                  103                  407                   893
   2001-02               383                  103                  407                   893
   2000-01               383                  103                  408                   894
   1999-00               384                  103                  409                   896

  a Does   not include five state-operated school systems -- the two state laboratory schools, the
   Illinois Mathematics and Science Academy, and the Illinois Department of Human Services
   Division of Rehabilitation state schools.

   Sources: Fall Housing Enrollment, Entity Profile System, and CDS File Record Counts.




                                                 22
                                                                         Exhibit 13: Page 30 of 66
   Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 32 of 67 PageID #:271




             Comparison of Public School Districts by Type and Enrollment
                                 2009-10 and 2019-20
                                             (105 ILCS 5/2-3.11)

                            Elementary         Secondary                 Unit                Total2
  District                   Districts          Districts             Districts            Districts*
  Enrollment               09-10 19-20        09-10 19-20          09-10     19-20       09-10    19-20
  25,000 or more                0       0          0       0            5         5           5        5
  10,000 to 24,999              4       4          2       2           12        13         18        19
  5,000 to 9,999               10      10         13      10           26        24         49        44
  2,500 to 4,999               55      51         23      26           31        29        109      106
  1,000 to 2,499               97     100         23      23         116        104        236      227
  600 to 999                   56      54         16      17           79        79        151      150
  300 to 599                   53      51         13      12           86       104        152      167
  Fewer than 300               90      98          6       6           25        30        121      134
   Total                     365      368         96      96         380        388        841      852


* Does not include one non-operating district, Department of Corrections/Juvenile Justice school
 district, state-operated districts, special education districts, and state charter districts.

 Sources: Fall Housing Enrollment, Entity Profile System, and CDS File Record Counts.

                 Comparison of Public and Nonpublic Attendance Centers
                                 2009-10 and 2019-20
                                             (105 ILCS 5/2-3.11)

             Public Attendance Centers                           Nonpublic Attendance Centers
                                 09-10             19-20                            09-10 19-20

  Elementary                            2,614      2,437 Elementary*                         849       697
  Junior High                             617        603 Secondary                           120       113
  Secondary                               687        705 Unit                                126        96
  Special Education and Others            338        449 Special Education                    46        12
   Total                                4,256      4,194  Total                            1,141       918

 * Includes Junior High.

 Note: These counts include all attendance centers, not just the regular schools included in the Illinois
 Interactive Report Card. Only registered Nonpublic Attendance Centers are used for Nonpublic
 Attendance Center counts for Elementary, Secondary, and Unit entities.

 Sources: Fall Housing Enrollment, Entity Profile System, and CDS File Record Counts.




                                                      23
                                                                            Exhibit 13: Page 31 of 66
 Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 33 of 67 PageID #:272




                         Public School Recognition Committee
               Act or Omissions Status Report for the 2019-20 School Year
                                     (105 ILCS 5/1A-4)

Region                                   Facility      Final FY          Date of District
                                                       Assignment        Notification
13-Clinton/Jefferson/Marion/Washington   Carlyle       Recognized        11-16-2020 via letter
                                         CUSD 1        Pending Further   sent by e-mail with
                                                       Review            read receipt request
13-Clinton/Jefferson/Marion/Washington   Breese ESD Recognized           11-16-2020 via letter
                                         12            Pending Further   sent by e-mail with
                                                       Review            read receipt request
13-Clinton/Jefferson/Marion/Washington   Albers SD 63 Recognized         11-16-2020 via letter
                                                       Pending Further   sent by e-mail with
                                                       Review            read receipt request
13-Clinton/Jefferson/Marion/Washington   North         Recognized        11-16-2020 via letter
                                         Wamac SD      Pending Further   sent by e-mail with
                                         186           Review            read receipt request
13-Clinton/Jefferson/Marion/Washington   Grand Prairie Recognized        11-16-2020 via letter
                                         CCSD 6        Pending Further   sent by e-mail with
                                                       Review            read receipt request
28-Bureau/Henry/Stark                    Dalzell SD    Recognized        11-16-2020 via letter
                                         98            Pending Further   sent by e-mail with
                                                       Review            read receipt request
28-Bureau/Henry/Stark                    Spring Valley Recognized        11-16-2020 via letter
                                         CCSD 99       Pending Further   sent by e-mail with
                                                       Review            read receipt request
28-Bureau/Henry/Stark                    Princeton     Recognized        11-16-2020 via letter
                                         HSD 500       Pending Further   sent by e-mail with
                                                       Review            read receipt request
28-Bureau/Henry/Stark                    AlWood        Recognized        11-16-2020 via letter
                                         CUSD 225      Pending Further   sent by e-mail with
                                                       Review            read receipt request
28-Bureau/Henry/Stark                    Kewanee       Recognized        11-16-2020 via letter
                                         CUSD 229      Pending Further   sent by e-mail with
                                                       Review            read receipt request
50-St. Clair                             Brooklyn UD Recognized          11-16-2020 via letter
                                         188           Pending Further   sent by e-mail with
                                                       Review            read receipt request
56-Will                                  Crete Monee Recognized          11-16-2020 via letter
                                         CUSD 201U Pending Further       sent by e-mail with
                                                       Review            read receipt request




                                            24
                                                             Exhibit 13: Page 32 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 34 of 67 PageID #:273




                                     STUDENTS

                               Public and Nonpublic
                       Prekindergarten through Postgraduate
                               Fall Pupil Enrollment
                                      (105 ILCS 5/2-3.11)

    School Year                       Public             Nonpublic                    Total
    2019-20                        1,957,018                193,574              2,150,592
    2018-19                        1,984,519                198,643              2,183,162
    2017-18                        2,005,153                203,864              2,205,393
    2016-17                        2,028,162                205,263              2,233,425
    2015-16                        2,041,779                214,631              2,256,410
    2014-15                        2,057,858                220,144              2,278,002
    2013-14                        2,073,480                219,700              2,293,180
    2012-13                        2,054,155                222,122              2,276,277
    2011-12                        2,087,628                237,377              2,325,005
    2010-11                        2,074,806                241,323              2,316,129
    2009-10                        2,105,779                243,680              2,349,459
    2008-09                        2,112,132                249,373              2,361,505
    2007-08                        2,113,435                265,276              2,378,711
    2006-07                        2,118,692                244,188              2,362,880
    2005-06                        2,111,706                267,651              2,379,357
    2004-05                        2,097,503                225,765              2,323,268
    2003-04                        2,100,961                312,891              2,413,780
    2002-03                        2,084,187                306,047              2,390,234
    2001-02                        2,071,391                317,198              2,388,589
    2000-01                        2,051,021                323,231              2,374,252
    1999-00                        2,018,316                323,869              2,342,185

   Notes:
      • Fall Housing Enrollment is a snapshot of student enrollment as of Oct. 1. Prior to
          FY 2016, Fall Enrollment was a snapshot of student enrollment as of Sept. 30.
          Beginning in FY 2016, Fall Enrollment is the State Report Card total that has been
          verified by districts.
      • Nonpublic schools report data voluntarily on an annual basis.

   Sources: Student Information System and Entity Profile System.




                                               25
                                                                    Exhibit 13: Page 33 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 35 of 67 PageID #:274




                         Comparison of Public School Enrollment
                                 2009-10 and 2019-20
                                         (105 ILCS 5/2-3.11)

                                                                                      Percent
 Grade Level                                       2009-10             2019-20        Change
 Pre-K (not Bilingual, Special Ed)                  78,544              44,082         -29.3%
 Pre-K Bilingual                                     4,630              16,658        306.2%
 Pre-K Special Ed                                   10,029              21,716          95.6%
 Kindergarten                                      148,178             130,713         -11.8%
 1st Grade                                         152,282             132,703         -12.9%
 2nd Grade                                         151,659             134,179         -11.5%
 3rd Grade                                         155,384             137,770         -11.3%
 4th Grade                                         154,133             139,472          -9.5%
 5th Grade                                         152,477             144,022          -5.5%
 6th Grade                                         154,189             148,739          -3.5%
 7th Grade                                         153,820             151,042          -1.8%
 8th Grade                                         154,211             148,434          -3.7%
  Elementary Total                               1,376,333           1,349,530          -1.9%

 9th Grade                                         173,137             156,647           -9.5%
 10th Grade                                        167,177             154,882           -7.4%
 11th Grade                                        143,366             147,547            2.9%
 12th Grade                                        144,714             148,412            2.6%
  Secondary Total                                  628,394             607,488           -3.3%
 Ungraded                                                0                   0              0%
    Total Elementary & Secondary                 2,004,727           1,957,018           -2.4%

Notes:
   • Public school enrollment includes Regional Offices of Education, Department of Corrections/
       Juvenile Justice, special education, and regular education schools.
   • Prior to FY 2016, Fall Enrollment was a snapshot of student enrollment taken from the
       Student Information System as of Sept. 30. Beginning in FY 2016, Fall Enrollment is the
       State Report Card total that has been verified by districts.

Source: Student Information System.




                                                 26
                                                                      Exhibit 13: Page 34 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 36 of 67 PageID #:275




                          Comparison of Public School Enrollment
                              By Racial/Ethnic Distribution
                                  2009-10 and 2019-20

                                                  2009-10                     2019-20
 Race                                           Number            %         Number        %
 White Non-Hispanic                           1,089,957         52.8        929,443     47.5
 Black Non-Hispanic                             388,091         18.8        324,212     16.6
 Hispanic                                       435,570         21.1        519,982     26.6
 Asian, Hawaiian, and Other Pacific              86,701                     104,767
 Islander                                                        4.2                     5.3
 American Indian or Alaskan Native                4,128          0.2          4,936      0.3
 Two or More Races                               59.865          2.9         73,678      3.8
   Total Students                             2,064,312         100       1,957,018     100
   Total Students of Color                      974,355         47.2      1,027,575     52.5

Source: Fall Housing Report (Student Information System).



                       Comparison of Nonpublic School Enrollment
                                 2009-10 and 2019-20
                                          (105 ILCS 5/2-3.11)

                                                                                      Percent
 Grade Level                                            2009-10        2019-20        Change
 Pre-K                                                   30,970         27,202        -12.2%
 Kindergarten                                            19,609         14,448        -26.3%
 1st Grade                                               17,153         12,643        -26.3%
 2nd Grade                                               16,494         12,399        -24.8%
 3rd Grade                                               16,413         12,221        -25.5%
 4th Grade                                               16,234         12,276        -24.4%
 5th Grade                                               16,156         12,684        -21.5%
 6th Grade                                               16,076         12,793        -20.4%
 7th Grade                                               15,954         13,098        -17.9%
 8th Grade                                               16,043         12,695        -20.9%
 Ungraded Elementary (PK-8)                                 466            275        -73.4%
 Elementary Special Ed (PK-8)                             3,760          2,773        -26.3%
  Elementary Total                                      185,328        146,007        -21.3%

 9th Grade                                               14,079         12,163        -13.6%
 10th Grade                                              14,212         11,662        -17.9%
 11th Grade                                              13,555         11,499        -15.2%
 12th Grade                                              13,459         11,202        -16.8%
 Ungraded Secondary                                         696             24        -96.6%
 Secondary Special Ed (9-12)                              2,044          1,517        -25.8%
  Secondary Total                                        58,045         48,067        -17.2%
    Total Elementary & Secondary                        243,373        193,574        -20.5%

Note: Nonpublic schools report data voluntarily on an annual basis.



                                                   27
                                                                       Exhibit 13: Page 35 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 37 of 67 PageID #:276




                    English Learner Enrollments by Native Language
                                          2019-20

 Home Language              Chicago SD 299    Non-Chicago       Statewide Total
                            Number            Number            Number
 Spanish                              47,910            129,558            177,468
 Other (Identified)                   12,264                770             13,034
 Arabic                                 1,333             7,779               9,112
 Polish                                   648             5,961               6,609
 Urdu                                     635             3,190               3,825
 Filipino (Tagalog)                       334             1,834               2,168
 Gujarati                                 242             1,940               2,182
 Russian                                  172             1,988               2,160
 Mandarin (Chinese)                       392             1,191               1,583
 French                                   188             1,408               1,596
 Telugu (Telegu)                           67             1,423               1,490
 Vietnamese                               340             1,169               1,509
 Hindi                                    116             1,318               1,434
 Ukrainian                                336               947               1,283
 Cantonese (Chinese)                      755               295               1,050
 Korean                                    41               919                 960
 Assyrian                                                   681                796
 (Syriac/Aramaic)                        115
 Tamil                                    38                749                787
 Malayalam                                23                815                838
 Romanian                                109                672                781
 Other                                 2,503             12,334             14,837
 Total                                68,561            176,941            245,502
Source: Student Information System.




                                               28
                                                           Exhibit 13: Page 36 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 38 of 67 PageID #:277




     English Learner Students by Transition Status and School Year Outcome
                                    2019-20
                                            (105 ILCS 5/1A-4)

                                                   Chicago SD 299                    Non-Chicago
            Transition Status                         Number                           Number
            Transitioned a                                3,740                        13,764
            Not Transitioned                             57,937                        145,480
            Total Students                               61,677                        159,244

            Outcome Status
            Promoted to next grade                       53,514                          150,715
              or otherwise retained
            Transferred b                                 6,348                           3,870
            Graduated                                     1,789                           4,103
            Dropped out c                                  25                              51
            Other outcome d                                 1                              505
            Total Students                               61,677                          159,244

Notes: a English Learners who attained English language proficiency as defined by the state (a 4.8
         Overall Composite Proficiency Level on the ACCESS for ELLs measure) in 2019-20. English
         Learners who did not transition out of the program were promoted to the next grade, retained in
         the same grade, graduated, transferred, dropped out, or another outcome.
       b
         Transferred includes students transferred to another district, home schooled, private schooled, or
         moved to unknown.
       c
         Dropped out includes students who dropped out or transferred to a GED program.
       d
         Other outcomes include death, age out, and the certificate of completion.

Source: Student Information System.




                                                    29
                                                                          Exhibit 13: Page 37 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 39 of 67 PageID #:278




           School Districts That Served More Than 1,000 English Learners
                                      2019-20

                                                                % of Statewide
 School District Name                        EL Enrollment
                                                                EL Enrollment
 City of Chicago SD 299                         68,375              27.9%
 SD U-46                                        13,181               5.4%
 Waukegan CUSD 60                                5,964               2.4%
 Aurora East USD 131                             5,962               2.4%
 Cicero SD 99                                    5,920               2.4%
 Rockford SD 205                                 5,192               2.1%
 CUSD 300                                        3,452               1.4%
 Palatine CCSD 15                                3,372               1.4%
 Schaumburg CCSD 54                              3,138               1.3%
 Aurora West USD 129                             3,125               1.3%
 Joliet PSD 86                                   3,112               1.3%
 Wheeling CCSD 21                                3,052               1.2%
 Indian Prairie CUSD 204                         2,986               1.2%
 Valley View CUSD 365U                           2,887               1.2%
 Comm Cons SD 59                                 2,802               1.1%
 Plainfield SD 202                               2,401               1.0%
 West Chicago ESD 33                             2,364               1.0%
 Round Lake CUSD 116                             2,114               0.9%
 Addison SD 4                                    1,666               0.7%
 J S Morton HSD 201                              1,497               0.6%
 CCSD 62                                         1,490               0.6%
 Maywood-Melrose Park-Broadview 89               1,448               0.6%
 East Maine SD 63                                1,439               0.6%
 CUSD 308                                        1,432               0.6%
 Belvidere CUSD 100                              1,336               0.5%
 North Palos SD 117                              1,283               0.5%
 Champaign CUSD 4                                1,272               0.5%
 Burbank SD 111                                  1,264               0.5%
 CUSD 200                                        1,251               0.5%
 Woodland CCSD 50                                1,224               0.5%
 Naperville CUSD 203                             1,186               0.5%
 Evanston CCSD 65                                1,179               0.5%
 North Chicago SD 187                            1,121               0.5%
 Township HSD 214                                1,090               0.4%
 Mannheim SD 83                                  1,073               0.4%
 Berwyn South SD 100                             1,065               0.4%
 Woodstock CUSD 200                              1,006               0.4%
Source: Student Information System.




                                        30
                                                         Exhibit 13: Page 38 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 40 of 67 PageID #:279




                                              English Learner Enrollment

                                           2014-15             2015-16          2016-17            2017-18         2018-19             2019-20
 Chicago District 299                       63,451              62,583           62,300             66,755          70,541              68,561
 Non-Chicago Districts                     137,841             139,391          143,285            157,751         170,552             176,941
  Total Enrollment                         201,292             201,974          205,585            224,506         241,093             245,502


Source: Student Information System.




                                Number of Preschool Children Served by
                                       State-Funded Programs
 110,000
 100,000   95,123
                    91,910
  90,000                        83,696
                                           80,995     78,580                                                                        79,058
  80,000                                                         75,231      75,154     73,118                73,312     73,188
                                                                                                    71,034
  70,000
  60,000
  50,000
  40,000
  30,000
               20,032     20,792     19,117     19,221                                                                                   17,567
                                                                                                                   14,003     18,026
  20,000                                                    14,770                13,771
                                                                       14,264                13,330     12,934
  10,000
       0
            FY 09       FY 10      FY 11      FY 12      FY 13       FY 14      FY 15      FY 16      FY 17      FY 18      FY 19      FY 20

                                                      PFA/PFAE Count             PI Count


Note: Each fiscal year has two categories - Preschool for All (PFA) + Preschool for All Expansion
(PFAE) Count \ Prevention Initiative (PI) Count

Sources: Student Information System, Early Childhood Electronic Grant Management System.




                                                                       31
                                                                                                      Exhibit 13: Page 39 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 41 of 67 PageID #:280




                                     High School Graduates*
                                          (105 ILCS 5/2-3.11)

                 School Year                  Public       Nonpublic             Total
                 2019-20*                   136,606             12,178        148,784
                 2018-19                    136,534             13,278        149,812
                 2017-18                    139,666             13,343        153,009
                 2016-17                    139,133             14,082        153,215
                 2015-16                    137,296             12,541        149,837
                 2014-15                    137,290             15,633        152,923
                 2013-14                    139,056             15,598        154,654
                 2012-13                    139,187             14,230        153,417
                 2011-12                    134,260             17,514        151,774
                 2010-11                    132,648             17,038        149,686
                 2009-10                    139,870             17,038        156,908
Note: Nonpublic schools report data voluntarily on an annual basis.

* Data possibly impacted by suspension of in-person instruction. Please use with caution
when interpreting results and trends.
Sources: Student Information System; Nonpublic Registration, Enrollment, and Staff Report.




                                                   32
                                                                         Exhibit 13: Page 40 of 66
                             Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 42 of 67 PageID #:281

                            2019-20 High School Dropout Rate* by Grade Level, Gender, and Race/Ethnicity
                                                                           (105 ILCS 5/1A-4)

                                       9th Grade             10th Grade            11th Grade            12th Grade                  Total                       All
                                    Male      Female      Male      Female      Male      Female       Male     Female        Male           Female
 White
   # of Dropouts                       905        766      1,072        940      1,271        963      1,109         627        4,357          3,296                      7,653
   Statewide Enrollment             39,812     37,069     40,155     37,231     38,711     36,382     40,037      36,743      158,715        147,425                    306,140
   DROPOUT RATE                      2.3%       2.1%       2.7%       2.5%       3.3%       2.6%       2.8%           1.7       2.7%           2.2%                       2.5%
 Black-African American
   # of Dropouts                       871       661         968        732      1,002        788        861         614        3,702          2,795                      6,497
   Statewide Enrollment             14,499     13,297     13,758     13,178     12,577     12,448     13,010      12,665       53,844         51,588                    105,432
   DROPOUT RATE                      6.0%       5.0%       7.0%       5.6%       8.0%       6.3%       6.6%        4.8%         6.9%           5.4%                       6.2%
 Am Indian-Alaskan
   # of Dropouts                         11           9        12         9         14          4          13         10            50            32                            82
   Statewide Enrollment                208          192      196        163       219         175        226        197           849           727                          1,576
   DROPOUT RATE                       5.3%         4.7%     6.1%       5.5%      6.4%        2.3%       5.8%       5.1%          5.9%          4.4%                          5.2%
 Asian
   # of Dropouts                        67          61        67          56        60          60        58          28          252            205                        457
   Statewide Enrollment              4,189       4,092     4,193       4,134     4,057       4,049     4,162       3,778       16,601         16,053                     32,654
   DROPOUT RATE                      1.6%        1.5%      1.6%        1.4%      1.5%        1.5%      1.4%        0.7%         1.5%           1.3%                       1.4%
 Native Hawaiian/Pacific
 Islander
   # of Dropouts                          3           2         6          5         4           5          2          1            15            13                            28
   Statewide Enrollment                  83         122        88         79        99          69         92         74          362           344                           706
   DROPOUT RATE                       3.6%         1.6%     6.8%       6.3%      4.0%        7.2%       2.2%       1.4%          4.1%          3.8%                          4.0%
 Hispanic
   # of Dropouts                       740          510      871          635      955          732    1,265          713       3,831          2,590                         6,421
   Statewide Enrollment             23,384     21,321     22,104     20,995     20,768     19,784     20,651      19,636       86,907         81,736                    168,643
  DROPOUT RATE                        3.2%         2.4%     3.9%       3.0%      4.6%        3.7%       6.1%       3.6%          4.4%          3.2%                          3.8%
 Multiracial
  # of Dropouts                        120         111       131         105       116          89        98          48          465            353                        818
  Statewide Enrollment               2,888       2,700     2,688       2,640     2,433       2,396     2,459       2,242       10,468          9,978                     20,446
  DROPOUT RATE                       4.2%        4.1%      4.9%        4.0%      4.8%        3.7%      4.0%        2.1%         4.4%           3.5%                       4.0%
 Totals
  # of Dropouts                      2,717      2,120      3,127      2,482      3,422      2,641      3,406       2,041       12,672          9,284                     21,956
  Statewide Enrollment              85,063     78,793     83,182     78,420     78,864     75,303     80,637      75,335      327,746        307,851                    635,597
  DROPOUT RATE                       3.2%       2.7%       3.8%       3.2%       4.3%       3.5%       4.2%        2.7%         3.9%           3.0%                       3.5%

 Special Population                                EL                Migrant                 FRL                     IEP
  # of Dropouts                                 2,296                      8               14,920                  4,638
  Statewide Enrollment                         41,220                     55              267,896                 90,376
  Dropout Rate                                  5.6%                  14.5%                 5.6%                   5.1%

Source: Student Information System. | Note: * Data possibly impacted by suspension of in-person instruction. Please use with caution when interpreting results and trends.



                                                                                    33
                                                                                                                                  Exhibit 13: Page 41 of 66
                            Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 43 of 67 PageID #:282

                                       Selected School Report Card Variables and Statewide Trend Data
                                                                    (105 ILCS 5/1A-4 & 5/2-3.11)

Report Card Variable        2010-11      2011-12      2012-13       2013-14      2014-15      2015-16      2016-17      2017-18      2018-19      2019-20
Enrollment Percentage
 White                        51.4%        51.0%        50.6%         49.9%        49.3%        48.8%        48.5%        48.0%        47.6%        47.5%
 Black                        18.3%        18.0%        17.6%         17.5%        17.5%        17.3%        17.0%        16.8%        16.7%        16.6%
 Hispanic                     23.0%        23.6%        24.1%         24.6%        25.1%        25.5%        25.7%        26.2%        26.4%        26.6%
 Asian                         4.1%         4.2%         4.3%          4.5%         4.6%         4.7%         4.9%         5.1%         5.1%         5.2%
 Native Hawaiian/
                               0.1%          0.1%         0.1%         0.1%         0.1%         0.1%         0.1%         0.1%         0.1%          0.1%
Pacific Islander
 Native American               0.3%          0.3%         0.3%         0.3%         0.3%         0.3%         0.4%         0.3%         0.3%          0.3%
 Two or More Races             2.8%          2.8%         3.0%         3.1%         3.1%         3.2%         3.4%         3.5%         3.8%          3.8%
Total Enrollmenta          2,074,806    2,066,692    2,054,155    2,046,857    2,054,556    2,041,779    2,028,162    2,005,153    1,984,519    1,957,018
Oper Expend Per
                            $11,537      $11,664       $11,842      $12,045      $12,521      $12,821      $12,973      $13,337    $13,763.5      $14,492
Pupilb
Graduation Ratec              83.8%        82.3%        83.2%         86.0%        85.6%        85.5%        87.0%        85.4%        85.9%        88.0%
Low-Income
                              48.1%        49.0%        49.9%         51.5%        54.2%        49.9%        50.2%        49.4%        48.8%        48.5%
Enrollment
EL Enrollment                  8.8%          9.4%         9.5%         9.5%        10.3%        10.5%        10.7%        11.7%        12.1%        12.5%

Dropout Ratec                  2.7%          2.5%         2.4%         2.2%         2.3%         2.0%         2.1%         2.1%         4.2%          3.5%
Chronic Truancy    Ratec       3.2%          8.6%         9.8%         8.7%         8.7%         9.8%        10.8%        11.2%        13.4%          9.6%
Mobility   Ratec              12.8%          7.6%         7.3%         7.0%         6.7%         6.9%        6.9%*         6.9%         7.1%          6.2%
Student Attendance
                              94.0%        94.4%        94.2%         94.5%        94.2%        94.4%        94.0%        93.9%        94.0%        95.4%
Ratec
Parental Contactd             96.0%        95.3%        95.5%         95.7%        95.2%        95.3%        94.9%        89.0%        92.6%            n/a
Average Class Size
 Kindergarten                   20.9         20.9         21.1          21.2         20.7         20.4         19.1         19.0         21.5         19.1
 Gr 1                           21.6         21.2         21.5          21.6         21.6         21.4         19.8         19.0         21.3         20.8
 Gr 3                           22.3           22         21.9          22.5         22.4         22.5         20.8         20.0         22.0         21.9
 Gr 6                             22         22.4         23.1          23.1         22.7         22.7         21.3         21.0         23.2         23.1
 Gr 8                           21.3         21.5         22.2          22.6         22.2         21.8         20.6         20.0         22.6         22.5
 High School                    19.2         19.2         19.9          19.4         19.4          19          19.5         20.0         21.8         21.6

Note: District statistics include charter school information.
a Enrollment figures taken from the Illinois Report Card. Report Card enrollment is taken as of Oct. 1 and must be verified by the district superintendent.
b Prior year expenditures.
c 2019-20 data possibly impacted by suspension of in-person instruction. Please use with caution when interpreting results and trends.
d Parental contact data was not available in 2019-20 as 5Essentials Survey data was not collected.

* Beginning in FY 2017, the student mobility rate replaced the mobility incident rate. ISBE recalculated mobility rates back to SY 2012.




                                                                                    34
                                                                                                                                    Exhibit 13: Page 42 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 44 of 67 PageID #:283



                         STUDENT PERFORMANCE
                             State Accountability Assessments

As part of the Illinois Accountability System, students in grades 3-8 take the Illinois Assessment
of Readiness (IAR). High school students have taken the SAT since 2017. The IAR replaced the
Partnership for Assessment of Readiness for College and Careers (PARCC) consortium test.

SAT scores should not be compared longitudinally to PARCC high school scores from 2016
because PARCC high school assessments were course-based rather than grade-level-based.
The PARCC high school assessment and SAT measure different groups of students on different
content.

In grades 3 through 8, final district- and school-level results indicate student performance at five
performance levels in English language arts and mathematics. In high school, results indicate
student performance at four performance levels in English language arts and mathematics. The
table below displays the statewide average percentage of students who meet or exceed
standards.

NOTE: No assessment data was collected in school year 2019-20 due to the suspension
of in-person instruction.


       English Language Arts                  2016      2017        2018       2019        2020
       Grade 3                                 35.5      36.2        37.0       36.3         n/a
       Grade 4                                 36.9      37.1        38.5       36.7         n/a
       Grade 5                                 35.3      36.6        35.6       37.8         n/a
       Grade 6                                 34.9      34.9        34.0       35.0         n/a
       Grade 7                                 37.3      40.0        39.8       41.3         n/a
       Grade 8                                 39.1      37.4        36.4       39.6         n/a
       High School %                           34.1      39.8        36.9       36.6         n/a
       High School Score                                511.5       505.7      497.5         n/a

       Mathematics                            2016      2017        2018       2019        2020
       Grade 3                                 39.6      39.2        37.8       40.6         n/a
       Grade 4                                 30.5      30.8        31.5       33.5         n/a
       Grade 5                                 31.7      29.6        30.8       29.8         n/a
       Grade 6                                 28.7      28.1        26.9       25.3         n/a
       Grade 7                                 27.3      27.2        30.7       29.9         n/a
       Grade 8                                 31.8      32.3        30.5       32.6         n/a
       High School %                           21.8      36.4        34.3       34.8         n/a
       High School Score                                504.4       501.3      497.0         n/a




                                                 35
                                                                     Exhibit 13: Page 43 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 45 of 67 PageID #:284


                     Dynamic Learning Maps Alternate Assessment

The Dynamic Learning Maps Alternate Assessment (DLM-AA) measures student performance
on alternate content standards for students with the most significant cognitive disabilities – DLM
Essential Elements. Essential Elements detail what children should know and be able to do at a
particular grade level.

The DLM-AA replaced the Illinois Alternate Assessment (IAA) in 2016. Statewide results
provide a new baseline for measuring student progress and therefore cannot be compared to
IAA scores.

Final district- and school-level results indicate student performance at each of the five
performance levels in English language arts and mathematics by grade level in elementary and
high school. The table below displays the statewide average percentage of students who meet
or exceed standards.

NOTE: No assessment data was collected in school year 2019-20 due to the suspension
of in-person instruction.



           English Language Arts                      2017         2018         2019        2020
           Grade 3                                     13.2         13.7         13.7         n/a
           Grade 4                                     18.6         15.9         13.6         n/a
           Grade 5                                     21.0         22.2        .15.4         n/a
           Grade 6                                     17.7         16.6         14.1         n/a
           Grade 7                                     25.3         25.7         21.0         n/a
           Grade 8                                     26.4         23.3         22.2         n/a
           Grade 11                                    26.9         28.2         23.9         n/a

           Mathematics                                2017         2018         2019        2020
           Grade 3                                     12.6         14.0         14.2         n/a
           Grade 4                                     19.8         17.8         19.4         n/a
           Grade 5                                      8.7         10.6          8.2         n/a
           Grade 6                                     10.0          9.4          9.3         n/a
           Grade 7                                      5.2          5.8          4.6         n/a
           Grade 8                                      7.2          7.2          4.2         n/a
           Grade 11                                     5.1          5.3          3.8         n/a




                                                36
                                                                    Exhibit 13: Page 44 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 46 of 67 PageID #:285



                                      2020 Advanced Placement Performance
                  3.15
                            3.11
                  3.10                                                                        3.08
                                                                                3.04
                  3.05
                                                                                                          3.01
                  3.00
                                                      2.96
                  2.95
  Average Score




                  2.90
                  2.85
                                          2.80                       2.81
                  2.80
                  2.75
                  2.70
                  2.65
                  2.60
                           Illinois      Indiana      Iowa       Kentucky     Missouri      Wisconsin    National


Source: 2020 College Board AP Summary Reports.

National Assessment of Educational Progress “The Nation’s Report Card”
           Average Student Scores for Illinois and U.S. Public Schools

                                                   2011        2013         2015           2017          2019
                   Reading
                    Illinois Grade 4               219          219           222           220          218
                    U.S. Grade 4                   220          221           221           221          219
                    Illinois Grade 8               266          267           267           267          265
                    U.S. Grade 8                   264          266           264           265          262
                    Illinois Grade 12               n/a         289            n/a           n/a          n/a
                    U.S. Grade 12                   n/a         287            n/a           n/a          n/a

                   Mathematics
                    Illinois Grade 4               239          239           237           238          237
                    U.S. Grade 4                   240          241           240           240          240
                    Illinois Grade 8               283          285           282           282          283
                    U.S. Grade 8                   283          284           281           282          281
                    Illinois Grade 12               n/a         154            n/a           n/a          n/a
                    U.S. Grade 12                   n/a         152            n/a           n/a          n/a

                   Science
                    Illinois Grade 4                n/a          n/a          151            n/a          n/a
                    U.S. Grade 4                    n/a          n/a          153            n/a          n/a
                    Illinois Grade 8               147           n/a          150            n/a          n/a
                    U.S. Grade 8                   151           n/a          153            n/a          n/a

                  Source: National Center for Education Statistics, Institute of Educational Sciences.
                  Note: Data is published every other year.




                                                                37
                                                                                         Exhibit 13: Page 45 of 66
 Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 47 of 67 PageID #:286


National Assessment of Educational Progress “The Nation’s Report Card”
               Comparison of Illinois and U.S. Achievement Gaps

                                         2019 Reading               2019 Math             2015 Science
 Grade 4                                 Illinois U.S.          Illinois   U.S.          Illinois  U.S.
  White                                      228   229              246     249              166    165
  Black                                      200   203              217     224              125    132
  Hispanic                                   208   208              231     231              137    138
  Asian                                      238   239              259     263              173    168
  American Indian/Alaska
   Native                                       *        204          *      228             *         141
  Native Hawaiian/Other
   Pacific Islander                             *        209         *       230             *         142
  Two or More Races                           229        225       238       243           152         158



                                         2019 Reading               2019 Math             2015 Science
 Grade 8                                 Illinois U.S.          Illinois   U.S.          Illinois  U.S.
  White                                      274   271              291     291              162    165
  Black                                      246   244              262     259              126    131
  Hispanic                                   255   251              273     268              139    139
  Asian                                      290   284              320     313              163    165
  American Indian/Alaska
   Native                                       *        249          *      263             *         140
  Native Hawaiian/Other
   Pacific Islander                             *        252         *       263             *         137
  Two or More Races                           263        266       286       285             *         158


  * Reporting standards not met as the sample n-size was insufficient to permit a reliable estimate.

  Note: Data is published every other year.

  Source: National Center for Education Statistics, Institute of Educational Sciences.




                                                    38
                                                                          Exhibit 13: Page 46 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 48 of 67 PageID #:287



                                       EDUCATORS

                Number of Selected Public School Personnel by Gender
                                Full-Time Equivalents
                                       2019-20
                                         (105 ILCS 5/2-3.11)

 Staff Category                                         Male              Female          Total

 Prekindergarten Teachers                               25.1              1,591.4        1,616.5
 Kindergarten Teachers                                 127.9              3,789.1       3,917.0
 Elementary Teachers (1-8)                          11,777.3             57,318.3      69,095.6
 Secondary Teachers (9-12)                          14,707.6             18,029.1      32,736.7
 Special Education Teachers                          3,541.8             19,280.1      22,821.9
 Undefined Grade-Level Teachers                         57.6                144.5         202.1
 District Superintendents                              578.9                199.4         778.3
 Assistant District Superintendent                     208.7                224.2         432.9
 Principals                                          1,648.3              1,997.3       3,645.6
 Assistant Principals                                1,116.0              1,591.6       2,707.6
 Other Administrators                               1,557.84              2,661.7       4,219.5
 Ancillary School Staff                              5,596.4             45,448.3      51,044.7
   Total Public School Personnel                    40,943.5            152,275.0     193,218.5



                                 Nonpublic School Personnel
                                 Full-Time Equivalents (FTE)
                                           2019-20
                                         (105 ILCS 5/2-3.11)

 Staff Category                                                                               FTE

 Prekindergarten Teachers                                                                  1,975.8
 Kindergarten Teachers                                                                     1,218.3
 Elementary Teachers (1-8)                                                                 8,367.1
 Secondary Teachers (9-12)                                                                 4,042.5
 Special Education Teachers                                                                  514.7
 Administrative Staff (includes Principals and Assistant Principals)                       2,636.9
 Pupil Personnel Services Staff                                                               940
 Support Staff                                                                             4,971.4
 Supervisory Staff                                                                           938.2
  Total Nonpublic Personnel (FTE)                                                         25,604.9

Source: 2019-20 Nonpublic Registration, Enrollment, and Staff Report.



                                                  39
                                                                        Exhibit 13: Page 47 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 49 of 67 PageID #:288


          Salaries for Select Full-Time Equivalent Public School Personnel
                                       2019-20
                                          (105 ILCS 5/2-3.11)

 Staff Category                                                     Median             Mean

 Prekindergarten Teachers                                        $50,786.06        $54,516.96
 Kindergarten Teachers                                           $57,207.00        $61,759.67
 Elementary Teachers (1-8)                                       $62,135.37        $65,860.89
 Secondary Teachers (9-12)                                       $69,005.22        $75,043.07
 Special Education Teachers                                      $61,478.28        $66,158.47
 District Superintendents                                       $150,074.00       $161,332.84
 Assistant District Superintendent                              $153,818.27       $156,170.48
 Principals                                                     $110,855.00       $112,303.35
 Assistant Principals                                            $95,000.00        $97,020.89
 Other Administrators                                           $104,901.91       $104,022.84
 Ancillary School Staff                                          $29,440.00        $40,499.91

Sources: Employment Information System, Illinois Report Card.




                           Public School Pupil-to-Teacher Ratios

                School Year                      Elementary              Secondary
                2019-20                                  18.1                 18.6
                2018-19                                  18.4                 19.0
                2017-18                                  20.1                 20.0
                2016-17                                  18.7                 19.4
                2015-16                                  18.7                 18.9
                2014-15                                  18.5                 18.4
                2013-14                                  18.6                 18.1
                2012-13                                  18.7                 17.9
                2011-12                                  18.9                 18.8
                2010-11                                  18.8                 18.9
                2009-10                                  18.2                 18.2

              Source: Illinois Report Card.




                                                  40
                                                                       Exhibit 13: Page 48 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 50 of 67 PageID #:289




                Educator Licenses Issued by Evaluation and Entitlement
                                           (105 ILCS 5/2-3.11)

 Licenses                    2015-16          2016-17            2017-18        2018-19           2019-20
 Evaluation                    21059           20,501             22,563         30,281            22,273
 Entitlement                    6011            5,392              4,876          5,111             5,620
  Total                       27,965           26,845             27,439         35,395            27,893



Source: Educator Licensure Information System.




                              Educator Licenses Issued by Type

 Licenses                                     2015-16      2016-17      2017-18      2018-19      2019-20
 Professional Educator License                  7,667        7,116        6,807       11,980        8,676
 Educator License with Stipulations
 (ELS) - Provisional Educator                    2,700        1,548         1,884          4            0
 Substitute Teacher License                     10,074        9,972        10,916     11,675        9,567
 Short-Term Substitute Teacher
 License                                                                  0            2,210        1,892
 ELS-Paraprofessional                                                 7,037            8,393        6,743
 ELS-Transitional Bilingual                        508         355      352              490          335
 ELS- Career and Technical Educator                                264                   375          337
 ELS- Visiting International Educator                              49                     37           82
 ELS- Provisional In-State Educator                                7                      18           21
 ELS-APE                                                           119                   210          234
 ELS-CSBO                                                          4                       0            3
  Total                                         20,441      18,636   27,439           35,392       27,890


Note: Prior to FY 2014, educators were issued certificates. An educator licensure system was instituted in
      FY 2014, at which time all certificates were converted to licenses.

Source: Educator Licensure Information System.




                                                    41
                                                                           Exhibit 13: Page 49 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 51 of 67 PageID #:290


                            Educator Endorsements Issued by Type
                                             (105 ILCS 5/2-3.11)

 Endorsements                                2015-16         2016-17     2017-18    2018-19    2019-20
 Elementary                                    3,524           3,347       2,964      4,075      2,762
 Secondary                                     2,625           3,564       2,914      3,810      2,826
 Middle Grade/Middle School                                                4,060      3,797      2,188
 Early Childhood                                    677          599         721      1,102      1,011
 K-12                                             3,622        2,686         816        809        600
 School Support Personnel                         1,298        1,190       1,171      1,637      1,411
 Administrative                                   1,843        1,126       1,324      1,859      1,519
 Special Education- other than
 LBSI                                                                         53         88             57
 LBSI                                                                      2,280      2,927          2,271
 ESL                                                                       3,077      3,490          2,662
 Bilingual                                                                 1,014      1,198            918
 Short-Term Emergency Approvals
 in Special Education                                                         68        134            170
 Short-Term Approvals*                                                       198        383            926
   Total                                         13,589       12,512      20,678     25,309         19,321

Note: *Short-Term Approvals are issued in all teaching content areas except special education and
       driver education.
Source: Educator Licensure Information System.

                  Educator Licensure Tests Administered by Test Fields
                                             (105 ILCS 5/2-3.11)

 Test Field                                       2015-16      2016-17    2017-18   2018-19    2019-20
 Basic Skills: TAP                                  6,084        1,016      4,650       586         69
 edTPA                                                                      4,368     5,271      4,582
 Early Childhood                                       561         459        708       763        994
 Elementary                                          2,769       2,180      8,869     2,738      2,728
 Special Education - all categories                  3,308       2,012      3,496     3,079      2,530
 Sciences - all disciplines                            569         375        695       550        479
 Math & Computer Science                               467         305        621       627        558
 Foreign Languages - all languages                     368         270        344       256        169
 English, Speech, Media, Reading, EL                 1,414       1,642      1,577     1,302      1,117
 History & Social Science                              738         529        890       872        762
 Art, Music, Theatre, Dance                            428         450        508       427        388
 Vocational/Technical - all fields                     135         124        416       344        279
 Health & Physical Education                           486         367        415       479        452
 School Support Personnel - all fields                 831       1,198      1,332     1,246      1,160
 Administrative - all types                          1,942       1,323      2,873     2,041      2,043
 Language Proficiency                                  787         627        910       958        556
 Assessment of Professional Teaching                 2,038         337        929        99         57
 Other                                                   0         321     22,723    24,153      9,992
  Total                                             22,925      13,535     56,324    45,791     28,915
Source: Educator Licensure Information System.


                                                      42
                                                                           Exhibit 13: Page 50 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 52 of 67 PageID #:291


                           National Board-Certified Teachers
                             Certification Earned in Illinois

                                      Newly          % Change from                 Cumulative
 Year
                                    Certified            Prior Year                   Growth
 2019-20                                  179                         0                   6,741
 2018-19                                  180                     -46.9                   6,578
 2017-18                                  337                  2,963.6                    6,399
 2016-17                                   11                     -74.4                   6,062
 2015-16                                   43                       -79                   6,051
 2014-15                                  205                     -21.5                   6,034
 2013-14                                  261                     -40.1                   6,025
 2012-13                                  436                      -5.4                   6,100
 2011-12                                  461                     -40.2                   5,842
 2010-11                                  771                       5.3                   5,155
 2009-10                                  732                       4.1                   4,694
 2008-09                                  704                      37.8                   3,924
 2007-08                                  511                      18.6                   3,192
 2006-07                                  431                      36.8                   2,492
 2005-06                                  315                     -23.7                   1,986
 1993-2005                              1,653                       n/a                   1,811


 Note: Changes in state funding for the Illinois Candidate Fee Subsidy and changes in the National
       Board’s certification process and timeline have impacted Illinois’ numbers of candidates each
       year. Additionally, changes to the certification process regarding content and timelines for
       completion impacts 2015-16 and 2016-17 numbers.

 Source: Educator Licensure Information System.




                                                43
                                                                      Exhibit 13: Page 51 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 53 of 67 PageID #:292


                 Expenditures to National Board-Certified Teachers

                                                                     Annual
 Year                Mentoring          Registrations                                        Total
                                                                    Stipends
 2019-20                       $0           $1,500,000                      $0         $1,500,000
 2018-19                       $0           $1,000,000                      $0         $1,000,000
 2017-18                        0            1,000,000                       0          1,000,000
 2016-17                        0            1,000,000                       0          1,000,000
 2015-16                        0            1,000,000                       0          1,000,000
 2014-15                        0            1,000,000                       0          1,000,000
 2013-14                        0            1,000,000                       0          1,000,000
 2012-13                        0            1,000,000                       0          1,000,000
 2011-12                        0            1,000,000                       0          1,000,000
 2010-11                        0                      0           2,756,400            2,756,400
 2009-10                        0                      0           5,740,730            5,740,730
 2008-09              2,616,000                 667,000            8,202,000           11,485,000
 2007-08              1,273,500              2,866,960             6,294,000           10,434,460
 2006-07                 783,000             2,183,500             5,164,109            8,130,609
 2005-06                 730,000                       0           3,874,995            4,604,995
 1993-2005            1,296,365              3,063,735             7,860,000           13,220,090

 Note: Public Act 097-0607 eliminated the annual stipend for Illinois Master Certificate holders
       effective July 1, 2011.

 Source: National Board for Professional Teaching Standards.




                                                 44
                                                                       Exhibit 13: Page 52 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 54 of 67 PageID #:293



                      SPECIAL EDUCATION SERVICES

            Students with Disabilities Receiving Special Education Services
                              Ages 3-21 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

  Disability Category                     2015-16     2016-17    2017-18    2018-19    2019-20
  Autism                                    23,252      24,503     25,754     27,131     28,473
  Cognitive Disability (MR)                 17,012      16,341     15,715     15,252     14,987
  Deaf-Blind                                    27          24         28         28         30
  Deafness                                     575         544        545        561        550
  Developmental Delay                       35,859      36,649     37,586     38,814     39,820
  Emotional Disability                      19,270      18,692     18,440     18,294     18,434
  Hearing Impairment                         3,091       2,994      2,876      2,796      2,683
  Multiple Disabilities                      2,735       2,829      2,856      2,916      2,992
  Other Health Impairment                   34,759      35,685     37,135     38,409     39,725
  Orthopedic Impairment                      1,312       1,225      1,124      1,025        949
  Specific Learning Disability             103,606     102,335    101,388    100,659    100,458
  Speech/Language                           53,486      50,579     49,917     50,384     49,610
  Traumatic Brain Injury                       699         682        661        633        610
  Visual Impairment                          1,107       1,086      1,041      1,058      1,035
   Total                                   296,790     294,168    295,066    297,960    300,356

Source: I-Star and Student Information System.




                             Students with Disabilities by Gender
                                Ages 3-21 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

  Gender                                  2015-16     2016-17    2017-18    2018-19    2019-20
  Male                                     198,143     196,017    196,273    197,827    198,889
  Female                                    98,647      98,151     98,793    100,133    101,467
   Total                                   296,790     294,168    295,066    297,960    300,356

Source: I-Star and Student Information System.




                                                 45
                                                                   Exhibit 13: Page 53 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 55 of 67 PageID #:294


                      Students with Disabilities by Race/Ethnic Group
                              Ages 3-21 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

 Race/Ethnicity Groups                           2015-16   2016-17   2017-18    2018-19   2019-20
 American Indian or Alaska Native                  1,554     1,109       849        823       792
 Asian                                             6,857     7,162     7,545      7,798     8,113
 Black or African American                        61,485    59,365    58,508     58,108    58,713
 Hispanic or Latino                               65,965    73,668    75,748     78,284    79,823
 Native Hawaiian or Other Pacific Islander           390       258       256        258       264
 Two or More Races                                10,269    10,676    11,148     12,067    11,949
 White                                           150,270   141,930   141,012    140,622   140,702
  Total                                          296,790   294,168   295,066    297,960   300,356


Source: I-Star and Student Information System.




                               Students with Disabilities by Age
                                     Unduplicated Count
                                         (105 ILCS 5/2-3.11)

               Age                      2015-16        2016-17    2017-18      2018-19    2019-20
                 3                         9,575          8,929      9,043        9,381      9,439
                 4                        13,076         13,113     12,591       13,245     12,903
                 5                        15,228         15,225     15,503       15,420     15,604
                 6                        16,651         16,664     16,811       17,457     17,231
                 7                        18,817         18,689     18,479       18,822     19,330
                 8                        20,727         20,233     20,263       20,295     20,689
                 9                        21,415         21,565     21,413       21,389     21,530
                10                        21,542         21,544     21,947       21,858     21,910
                11                        21,660         21,251     21,687       22,178     22,034
                12                        21,077         21,335     21,265       21,631     22,151
                13                        20,802         20,825     21,428       21,367     21,597
                14                        20,725         20,324     20,605       21,212     21,091
                15                        20,659         20,383     20,066       20,387     21,060
                16                        19,905         20,060     19,869       19,608     19,973
                17                        18,896         18,443     18,667       18,499     18,454
                18                         9,634          9,415      9,333        9,119      9,042
                19                         3,120          2,945      3,027        2,945      2,935
                20                         1,874          1,824      1,733        1,826      1,939
                21                         1,407          1,401      1,336        1,321      1,444
                 Total                   296,790        294,168    295,066      297,960    300,356


Source: I-Star and Student Information System.




                                                  46
                                                                     Exhibit 13: Page 54 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 56 of 67 PageID #:295


                         Students with Disabilities Exiting School
                             Ages 14-21 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

  Reason for Exiting School                      2015-16   2016-17   2017-18   2018-19   2019-20
  Certificate of Completion                          202       814       306       386       294
  Died                                                76        84        55        62        62
  Dropped Out of School                            2,872     2,650     2,775     2,570     1,610
  High School Diploma                             13,484    11,364    15,916    15,458    15,784
  Moved, Continuing School                         8,747     7,358     7,540     6,082     4,467
  Reached Maximum Age                                655       567       354       306       365
  Returned to Regular Education                    2,334     3,012     1,606     1,734     1,747
   Total                                          28,370    25,849    28,552    26,598    24,848

Source: I-Star and Student Information System.

                     Students with Disabilities by Primary Language
                             Ages 3-21 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

  Primary Language                               2015-16   2016-17   2017-18   2018-19 2019-20
  American Sign Language                              37       110        97        99     105
  Arabic                                             730     2,005     2,164     2,301   2,407
  Assyrian                                           124       294       272       295     304
  Cambodian                                           28        64        66        68      70
  Cantonese (Chinese)                                184       260       224       238     224
  Croatian                                             8        21        28        34      35
  English                                        257,986   228,274   201,585   201,257 203,198
  French                                              73       221       231       256     279
  German                                              23        69        68        77      81
  Greek                                               74       241       216       224     231
  Gujarati                                           146       368       395       420     430
  Hindi                                               75       242       306       341     372
  Hindustani                                           0         0         0         0       0
  Italian                                             48       164       147       148     143
  Japanese                                            43        81        70        90      88
  Kashmiri                                             0         0         0         0       0
  Korean                                             105       250       255       265     273
  Lao                                                 19        80        78        77      84
  Lithuanian                                          42       123       130       136     140
  Mandarin (Chinese)                                 114       307       350       382     395
  Others                                           1,294     3,178    35,197    32,362  31,377
  Filipino                                           257       798       768       808     813
  Polish                                             941     1,969     1,940     2,002   1,993
  Romanian                                            93       188       199       218     226
  Russian                                            167       409       433       462     469
  Spanish                                         33,592    53,098    48,469    50,526  51,414
  Urdu                                               403       988     1,031     1,086   1,140
  Vietnamese                                         184       366       347       340     363
    Total                                        296,790   294,168   295,066   294,512 296,654
Source: I-Star and Student Information System.


                                                   47
                                                                     Exhibit 13: Page 55 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 57 of 67 PageID #:296


                 Students with Disabilities Receiving Related and Other
                              Special Education Services
                              Ages 3-21 Duplicated Count
                                           (105 ILCS 5/2-3.11)

  Related and Other Services                      2015-16     2016-17     2017-18     2018-19 2019-20
  Acquisition of Daily Living Skills                  866         842         740         635     601
  Adapted Driver Education                             10          25          30           5       8
  Adapted Physical Education                        6,453       6,511       6,338       6,248   6,129

  Aide - Class                                     44,227      43,556      38,325      37,967      37,451
  Aide - Individual Student                        16,724      17,431       8,918       9,108       9,096
  Art Therapy                                         186         168         170         153         125

  Assistive Device                                 15,952      15,255        2,644     11,639      12,683
  Audiology                                         3,542       3,271        2,650      2,644       2,549

  Behavioral Intervention Plan                     17,334     171,488      16,134      18,215      19,185
  Braillist/Reader                                     92          81          80          76          75
  Career and Technical Education                    1,268       1,234       1,019         879         712
  Competitive Employment                              149         130          82          59          38
  Consultant Services                               2,066       1,910       1,993       2,128       1,997
  Counseling Services                              13,291      13,944      13,890      14,517      15,489
  Interagency Linkages                                780         683         650         618         567
  Interpreter Services                                907         824         634         731         662
  Music Therapy                                       262         391         328         273         248
  Occupational Therapy                             51,059      52,235      46,892      54,988      57,573
  Orientation and Mobility                            772         764         698         773         769
  Other Related Services                            3,671       3,337       2,915       3,089       3,216
  Outdoor Education                                    33          44          48          53         134
  Parent Counseling                                   226         254         195         189         145
  Physical Therapy                                 13,267      13,324      12,345      13,408      13,474
  Psychiatric Services                                463         389         329         298         218
  Psychological Services                            3,190       2,930       1,639       1,590       1,544
  Recreation                                           68          82         107         105         109
  School Heath Services                            15,931      16,206       8,774      14,003      14,297
  Social Work Services                             83,047      84,870      67,812      87,767      91,137
  Speech/Language Services                         90,162      92,437      83,751      98,311     101,301
  Students reported with no related
    services                                      105,045     103,781     144,340     103,788     102,747
  Supported Employment                                288         374         406         489         460
  Supports for Transition to Post-Sec Ed            1,816       1,709       1,637       1,651       1,620
  Transition/STEP by Div of Rehab
    Services                                       22,987      22,366       3,805      22,503      21,609
  Transportation (Special)                         63,650      63,209      53,361      54,182      55,888
  Travel Training                                     150         122         113          78          67

Note: This chart states the number of related and other services reported for eligible students by school
      districts. One student could be reported as receiving up to eight services.
Source: I-Star and Student Information System.




                                                    48
                                                                          Exhibit 13: Page 56 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 58 of 67 PageID #:297


                   Educational Placement of Children with Disabilities
                             Ages 3-5 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

  Educational Environment            2015-16     2016-17       2017-18   2018-19    2019-20
  Early Childhood Program:
   At least 80% of time                   n/a             9        n/a       n/a        n/a
  Early Childhood Program:
   40% - 79% of time                      n/a             1        n/a       n/a        n/a
  Early Childhood Program:
   less than 40% of time                  n/a             3        n/a       n/a        n/a
  Regular Early Childhood
   Program: At least 10
   hours per week and
   receiving the majority of
   Spec Ed and related
   services in the regular
   Early Childhood Program            13,555          13,999    14,299    16,375     16,607
  Regular Early Childhood
   Program: At least 10
   hours per week and
   receiving the majority of
   hours of Spec Ed and
   related services in some
   other location                       8,297          8,439     8,728     8,335      8,390
  Regular Early Childhood
   Program: Less than 10
   hours per week and
   receiving the majority of
   hours of Spec Ed and
   related services in the
   regular Early Childhood
   Program                                831           901       837        678        628
  Regular Early Childhood
   Program: Less than 10
   hours per week and
   receiving the majority of
   hours of Spec Ed and
   related services in some
   other location                      1,409           1,281     1,318     1,166      1,051
  Separate Class                       9,943           9,325     8,221     7,859      7,774
  Separate School                        728             632     1,034     1,073        955
  Residential Facility                    15              14         7         6          7
  Home                                    93             102       110        92         89
  Service Provider Location            3,008           2,561     2,583     2,462      2,445
   Total Ages 3-5                     37,879          37,267    37,137    38,046     37,946

Source: I-Star and Student Information System.




                                                 49
                                                                    Exhibit 13: Page 57 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 59 of 67 PageID #:298


                   Educational Placement of Children with Disabilities
                            Ages 6-21 Unduplicated Count
                                         (105 ILCS 5/2-3.11)

  Educational Environment            2015-16         2016-17       2017-18         2018-19        2019-20
  Inside Regular Class
    80% or more of day               136,311         134,901       135,483          137,214       138,298
  Inside Regular Class
    40-79% of day                     67,881             67,932     68,147           68,132        68,974
  Inside Regular Class
    less than 40% of day              34,415             34,530     34,103           33,927        33,916
  Separate School                     14,615             14,738     15,449           15,992        16,622
  Residential Facility                 1,027                888        488              505           497
  Homebound/Hospital                     405                384        396              387           406
  Correctional Facilities/
    Detention Programs                    167               84           17              8             8
  Parentally Placed in
    Private Schools                    4,090           3,442         3,846            3,749         3,689
   Total Ages 6-21                   258,911         256,899       257,929          259,914       262,410

Source: I-Star and Student Information System.



              Teachers Employed to Provide Special Education Services
                              Full-Time Equivalents
                                         (105 ILCS 5/2-3.11)

                                                 2015-16     2016-17    2017-18        2018-19       2019-20
  Teachers for Ages 3-5
   (Highly Qualified)                            1,346.9      1,342.8    1,646.5        1,581.1      1,792.8
  Teachers for Ages 3-5
   (Not Highly Qualified)                            6.3          6.6         1.0             0             0
  Teachers for Ages 6-21
   (Highly Qualified)                        21,630.0       18,059.0    21,948.2       21,842.2     22,843.5
  Teachers for Ages 6-21
   (Not Highly Qualified)                       344.7    210.9     44.7                    15.0          17
   Total Special Education Teachers          23,327.9 19,619.2 23,640.4                23,438.3     24,653.3


Source: I-Star and Student Information System.




                                                    50
                                                                         Exhibit 13: Page 58 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 60 of 67 PageID #:299


        Paraprofessionals Employed to Provide Special Education Services
                             Full-Time Equivalents
                                         (105 ILCS 5/2-3.11)

                                             2015-16         2016-17     2017-18     2018-19        2019-20
  Paraprofessionals for Ages 3-5
   (Highly Qualified)                            5,351.8     4,720.8     3,580.3     3,492.7        3,535.3
  Paraprofessionals for Ages 3-5
   (Not Highly Qualified)                         566.8        519.7         1.0              0         0.3
  Paraprofessionals for Ages 6-21
   (Highly Qualified)                        23,986.3       23,728.3    28,493.4    28,346.4       29,727.1
  Paraprofessionals for Ages 6-21
   (Not Highly Qualified)                        3,565.6     3,730.8        48.9         4.9           18.9
   Total Special Education
   Paraprofessionals                         33,470.5       32,699.6    32,123.6      31,844       33,281.6

Source: I-Star and Student Information System.

                   Special Education and Related Services Personnel
                                Full-Time Equivalents
                                         (105 ILCS 5/2-3.11)

                                           2015-16         2016-17     2017-18     2018-19        2019-20
  Audiologists                                30.8            31.6        39.2        39.3           40.6
  Counselors & Rehabilitation
    Counselors                                   973.9       374.8        467.8       547.9           641
  Interpreters                                   213.9       202.7        227.9       215.4          246.5
  Medical/Nursing Service Staff                  548.0       413.4        620.0        497           555.8
  Occupational Therapists                        955.6       894.2      1,000.2     1,001.4        1,009.4
  Orientation & Mobility Specialists              20.7        19.1         18.6        20.1           24.2
  Physical Education Teachers/
    Therapeutic Recreation
    Specialists                               215.6           206.3       206.2       192.5          213.2
  Physical Therapists                         331.0           308.3       321.0       314.3          319.3
  Psychologists                             2,128.6         1,900.6     2,066.2     2,008.1        2,050.3
  Social Workers                            3,202.4         2,911.3     3,261.6     3,313.2        3,496.8
  Speech-Language Pathologists              3,957.8         3,635.8     3,943.7     3,929.1        4,068.5
   Total Related Services Personnel        12,578.3        10,898.1    12,172.6    12,078.3       12,665.6


Source: I-Star and Student Information System.




                                                    51
                                                                          Exhibit 13: Page 59 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 61 of 67 PageID #:300



                 2019-20 Counts of Due Process Cases
                         (105 ILCS 5/14-8.02d)

Due Process Complaints                                                          Total
Total Number of due process complaints filed                                    213
Resolution Meetings                                                             18
Written settlement agreements reached through resolution meetings               3
Hearings fully adjudicated                                                      2
Decisions within timeline (include expedited)                                   1
Decisions within extended timeline                                              1
Due process complaints pending                                                  51
Due process complaints withdrawn or dismissed (including resolved without a     160
hearing)

Expedited Due Process Complaints (Related to Disciplinary Decision)             Total
Total Number of expedited due process complaints filed                          10
Expedited resolution meetings                                                   1
Expedited written settlement agreements                                         1
Expedited hearings fully adjudicated                                            1
Change of placement ordered                                                     0
Expedited due process complaints pending                                        0
Expedited due process complaints withdrawn or dismissed                         9


             Disability                                               2019-20
             Other Health Impairment                                       59
             Autism                                                        58
             Specific Learning Disabilities                                44
             Unknown/None                                                  28
             Emotional Disability                                          35
             Developmental Delay                                            8
             Intellectual Disability                                       19
             Speech/Language Impairment                                    12
             Multiple Disabilities                                          4
             Hearing Impairment                                             4
             Orthopedic Impairment                                          3
             Visual Impairment                                              2
             Traumatic Brain Injury                                         0




                                              52
                                                               Exhibit 13: Page 60 of 66
 Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 62 of 67 PageID #:301


Issue                             Specific Issue                        Count
Education Placement               Placement Determination                 116

Educational Services/IEP          FAPE                                     50

                                  Sufficiency of Instructional
Educational Services/IEP                                                   42
                                  Services Offered
Evaluation of Students for Sp.    Independent Educational
                                                                           34
Ed. Services                      Evaluation
                                  Placement of Children by Parents
Reimbursement                                                              23
                                  when FAPE is an Issue
                                  Parent Participation (examine
Procedural Safeguards             records, meetings, placement             20
                                  decisions)

                                  Sufficiency of Related Services
Educational Services/IEP                                                   17
                                  Offered

Eligibility of Students for Sp.
                                  Disagreement over Eligibility            17
Ed. Services
                                  IEP Implementation-Spec Ed
Educational Services/IEP                                                   13
                                  Services/Program
                                  Behavioral Intervention Policies
Educational Services/IEP                                                   10
                                  and Procedures
Evaluation of Students for Sp.    Reevaluations (General, Who
                                                                           10
Ed. Services                      Can Request, Timelines)
Education Placement               LRE Requirements                          9
Evaluation of Students for Sp.
                                  Child Find                                9
Ed. Services
                                  IEP Implementation- Related
Educational Services/IEP                                                    9
                                  Services/Programs
                                  Suspension/Expulsion (Including
                                  in-School and Bus),
Discipline Procedures                                                       8
                                  Manifestation Determination,
                                  Weapons


Discipline Procedures             Discipline Appeal                         6



Educational Services/IEP          Transportation                            6

Related Services                  Speech Language Pathology                 5
                                  IEP Implementation-Support from
Educational Services/IEP                                                    5
                                  School Personnel

Evaluation of Students for Sp.    Initial Evaluations (General, Who
                                                                            4
Ed. Services                      Can Request)




                                                53
                                                                      Exhibit 13: Page 61 of 66
 Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 63 of 67 PageID #:302




Educational Services/IEP         IEP Review and Revisions                    3



                                 Transition Services - Content of
Educational Services/IEP                                                     3
                                 IEP
                                 Referral/Evaluation Procedures
                                 (Date of Referral, District
Evaluation of Students for Sp.   Procedures and Response,
                                                                             2
Ed. Services                     Timelines, Notice,
                                 Nondiscriminatory Testing,
                                 Report)
                                 Notification (prior notice, content
Procedural Safeguards            of notice understandable                    2
                                 language)
Related Services                 Occupational Therapy                        2

Related Services                 Physical Therapy                            2


Educational Services/IEP         Initial IEP- Provisions of Services         2

                                 IEP Implementation-
Educational Services/IEP                                                     2
                                 Accommodations/Modifications

Educational Services/IEP         Extended School Year Services               2
                                 Content of IEP (PLAAFP, Goals,
                                 Reporting on Goals, Statement of
Educational Services/IEP                                                     2
                                 Services, Participation,
                                 Assessment, Services Dates)
                                 Change in Placement Due to
Discipline Procedures                                                        1
                                 Disciplinary Removals
Educational Services/IEP         Assistive Technology/Equipment              1



Other                            District Policies and Procedures            1



                                 IEP Implementation-Assistive
Educational Services/IEP                                                     1
                                 Technology/Equipment
                                 Protection for Students Not Yet
Discipline Procedures                                                        1
                                 Eligible

Records                          Opportunity For a Hearing                   1
                                 Notice of Explanation of
Procedural Safeguards                                                        1
                                 Procedural Safeguards


                                               54
                                                                       Exhibit 13: Page 62 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 64 of 67 PageID #:303


                                  SLD - Determination
                                  Requirements (Standards,
 Evaluation of Students for Sp.
                                  Progress, Exclusionary Factors,         1
 Ed. Services
                                  Lack of Instruction, Timeline
                                  Exemptions)
 Related Services                 Social Work                             1
 Educational Services/IEP         Supplementary Aids - Definition         1
 Educational Services/IEP         Vocational Services                     1


Source: Special Education Monitoring System.




                                               55
                                                                    Exhibit 13: Page 63 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 65 of 67 PageID #:304


                     Mandated Categorical Grants Rate Analysis
                                       (105 ILCS 5/2-3.104)

                   Reimbursement Rate                   School Code              Last Rate Change to
 Program           (amount)                             Reference                School Code
 Illinois Free     $0.15 per meal                       105 ILCS 125             PA76-875
 Lunch/                                                                          Effective August 1969
 Breakfast
 Regular Ed -      1.2 weighted per capita              105 ILCS 5/18-3          PA95-0793
 Orphanage         multiplied by reported ADA.                                   Effective August 2009
                   Demonstrated actual costs
                   above weighted formula are
                   reimbursed to 100%.
                   Separate summer claim
                   reimbursed at actual cost.
 Special Ed -      Funds distributed at 85%             105 ILCS 5/14-7.02(b)    PA95-0705
 Funding for       based on ADA and 15% on                                       Effective January 2008
 Children          poverty as used in the most
 Requiring         recent GSA claim for each                                     PA 100-0465
 Sp Ed             district.                                                     Repealed August 2017
 Special Ed -      Actual cost for education            105 ILCS 5/14-7.03       PA79-797
 Orphanage         and transportation                                            Effective July 1973
 Special Ed -      $9,000 per certified full-time       105 ILCS 5/14-13.01(c)   PA95-707
 Personnel         worker; $3,500 per                                            Effective January 2008
 Reimbursement     noncertified worker.
                                                                                 PA 100-0465
                                                                                 Repealed August 2017
 Special Ed -      Actual tuition cost paid less        105 ILCS 5/14-7.02       PA80-1405
 Private Tuition   2 district per capita tuition                                 Effective August 1978
                   amounts.
 Special Ed -      Weighted ADA multiplied by           105 ILCS 5/18-4.3        PA79-1350
 Summer School     GSA amount per ADA.                                           Effective August 1976

                                                                               PA 100-0465
                                                                               Repealed August 2017
 Special Ed -      80% of allowable cost                105 ILCS 5/14-13.01(b) Laws of 1965
 Transportation                                                                Effective July 1965
 Vocational Ed     80% of allowable cost                105 ILCS 5/29-5          Laws of 1961
 Transportation                                                                  Effective March 1965
 Regular Ed        Actual costs less EAV                105 ILCS 5/29-5          Laws of 1961
 Transportation    qualifying amount for                                         Effective March 1965
                   eligible students (min $16
                   per student).

Notes:
   • ADA: Average Daily Attendance
   • GSA: General State Aid
   • EAV: Equalized Assessed Valuation




                                                   56
                                                                       Exhibit 13: Page 64 of 66
  Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 66 of 67 PageID #:305


                                Teachers’ Retirement Systems

The purpose of these funds is to pay the statutorily required state share of the actuarial liability
of the Teachers’ Retirement System, including the Teachers’ Retirement Insurance Program,
and to subsidize the Chicago Teachers’ Pension Fund (Public Act 88-593).

These funds are appropriated directly to the Teachers’ Retirement System and the Chicago
Teachers’ Pension Fund. The following represent historical appropriation amounts:


  Fiscal          Non-Chicago              Chicago                    Total
   Year                System*              System           Appropriations
  2020           $4,945,736,256        $257,349,000          $5,203,085,256
  2019           $4,591,440,070        $238,869,000          $4,830,309,070
  2018           $4,209,483,859         $11,692,000          $4,221,175,859
  2017           $4,096,286,351         $12,186,000          $4,108,472,351
  2016           $3,850,960,455         $12,105,000          $3,863,065,455
  2015           $3,513,861,000         $62,145,000          $3,576,006,000
  2014           $3,529,008,000         $11,903,000          $3,540,911,000
  2013           $2,790,161,000         $10,931,000          $2,801,092,000
  2012           $2,494,094,000         $10,449,000          $2,504,543,000
  2011             $255,953,000         $42,971,400            $298,924,400
  2010             $913,868,667         $37,551,400            $951,420,067


 Note: *Teachers' Retirement Insurance Program (below) included in the above Non-Chicago
 System totals for the following fiscal years.


 Teachers’ Retirement Insurance Program*

   2020            $132,158,560
   2019            $125,261,961
   2018            $114,167,713
   2017            $109,703,000
   2016            $108,258,261
   2015            $100,983,000
   2014             $90,430,000
   2013             $86,683,000
   2012             $87,622,000
   2011             $85,953,000
   2010             $79,007,000


 Notes: In FY 2018, the Chicago System also received $221.3 million from ISBE's FY 2018
 Evidence-Based Funding appropriation, which is not reflected above.

 Amounts and percentages may not sum to totals due to rounding.

Source: Appropriations for FY 2010 through FY 2020 are from the Illinois Office of the Comptroller.




                                                   57
                                                                        Exhibit 13: Page 65 of 66
Case: 1:22-cv-00123 Document #: 1-13 Filed: 01/08/22 Page 67 of 67 PageID #:306




                              2020 Annual Report
                       Published by the Internal Communications Department
                                            January 2021




                                                                       Exhibit 13: Page 66 of 66
